        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 1 of 86



                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                        )
DESKTOP METAL, INC.,                    )
                                        )
                Plaintiff and
                                        )
                Counterclaim Defendant,
                                        )
v.                                      )
                                        )
                                                     Civil Action No. 1:18-CV-10524-WGY
MARKFORGED, INC. AND MATIU              )
PARANGI,                                )
                                        )
                Defendants and          )
                Counterclaim Plaintiff )             Jury Trial Demanded
                (Markforged, Inc.),     )
                                        )
v.
                                        )
RICARDO FULOP, JONAH MYERBERG,          )
BOSTON IMPACT LLC, and AMY BUNTEL, )
                                        )
               Third-Party Defendants. )
                                        )


     DEFENDANT MARKFORGED, INC.’S ANSWER, AFFIRMATIVE AND
  OTHER DEFENSES, AND COUNTERCLAIMS AND THIRD-PARTY COMPLAINT

       Defendant Markforged, Inc. (“Markforged”) hereby answers the Complaint of Desktop

Metal, Inc. (“Desktop Metal”). Except as specifically admitted below, Markforged denies the

allegations of the Complaint. To the extent that the opening paragraph or any of the headings of

the Complaint require a response, Markforged denies such allegations.


                                 NATURE OF THE ACTION

       1.      Markforged denies that Desktop Metal has asserted any valid claims to protect any

valid intellectual property, trade secrets, and/or other proprietary information. Markforged admits

that Desktop Metal is based in Burlington, Massachusetts. Markforged is without knowledge or
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 2 of 86



information to form a belief as to the truth of the remaining allegations of paragraph 1 and therefore

denies the allegations.


                                             PARTIES

       2.      Admitted.

       3.      Admitted.

       4.      Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 4 and therefore denies the allegations.


                                 JURISDICTION AND VENUE

       5.      Paragraph 5 states a legal conclusion to which no response is required.

       6.      Paragraph 6 states a legal conclusion to which no response is required.

       7.      Paragraph 7 states a legal conclusion to which no response is required. To the

extent a response is required, paragraph 7 is directed not to Markforged but to another defendant,

and Markforged therefore is without knowledge or information to form a belief as to the truth of

the allegations and therefore denies the allegations.

       8.      Paragraph 8 states a legal conclusion to which no response is required. To the

extent a response is required and to the extent paragraph 8 is directed to Markforged, Markforged

admits that it is a resident of Massachusetts, and has a regular and established place of business in

Massachusetts. Markforged will not contest venue in this judicial district for purposes of this

action only.

                                       PATENTS-IN-SUIT

       9.      Markforged denies the allegations of paragraph 9, and specifically denies that the

‘118 patent was legally issued to Desktop Metal, except that Markforged admits that, (a) on its

face, the issue date of the ‘118 patent is November 14, 2017; (b) on its face, the title of the ‘118

                                                -2-
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 3 of 86



patent is “Fabricating Multi-Part Assemblies”; and (c) a purported copy of the ‘118 patent is

attached to the Complaint as Exhibit 1.

       10.     Markforged denies the allegations of paragraph 10, and specifically denies that the

‘839 patent was legally issued to Desktop Metal, Inc., except that Markforged admits that, (a) on

its face, the issue date of the ‘839 patent is December 5, 2017; (b) on its face, the title of the ‘839

patent is “Fabricating an Interface Layer for Removable Support”; and (c) a purported copy of the

‘839 patent is attached to the Complaint as Exhibit 2.

       11.     The ‘118 and ‘839 patents are collectively referred to herein as the "patents-in-suit"

or the Asserted Patents.

     DESKTOP METAL’S HISTORY AND INTERACTION WITH MARKFORGED

       12.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 12 and therefore denies the allegations.

       13.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 13 and therefore denies the allegations.

       14.     Markforged denies that “in the sprint of 2015, Mr. Fulop began the process of

winding up his activities at North Bridge.” Markforged is without knowledge or information to

form a belief as to the truth of the remaining allegations of paragraph 14 and therefore denies the

allegations.

       15.     Denied.

       16.     With respect to the first sentence of paragraph 16, Markforged is without

knowledge or information to form a belief as to the truth of the allegations and therefore denies

the allegations. With respect to the second and third sentences of paragraph 16, denied.

       17.     Markforged denies that the letter referenced in paragraph 17 “was intended to

interfere with the financing of Desktop Metal.” Markforged is without knowledge or information

                                                 -3-
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 4 of 86



to form a belief as to the truth of the remaining allegations of paragraph 17 and therefore denies

the allegations.

       18.     Denied.

       19.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 19 and therefore denies the allegations.

       20.     Denied, except that Markforged admits that it announced its Metal X printer for 3D

printing metal in January 2017 at CES 2017.

       21.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 21 and therefore denies the allegations.

       22.     Markforged denies that the patents-in-suit are valid and denies that they were

legally issued. Markforged is without knowledge or information to form a belief as to the truth of

the remaining allegations of paragraph 22 and therefore denies the allegations, except that

Markforged admits that the patents-in-suit purport, on their faces, to have issued in November and

December 2017.

       23.     The Exhibits and Markforged website speak for themselves and are the best

evidence of the language contained therein.

       24.     The Markforged webinar speaks for itself and is the best evidence of the language

contained therein.

       25.     Denied.

                                  COUNT I
             (PURPORTING TO ALLEGE INFRINGEMENT OF ‘839 PATENT)
                                 (Markforged)

       26.     Markforged re-alleges and incorporates the responses set forth in the preceding

paragraphs as if fully set forth herein.

       27.     Denied.

                                               -4-
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 5 of 86



       28.     Denied.

       29.     Denied, except that Markforged admits that the image purports to be the same or

similar to an image that appears in Exhibit 3, which speaks for itself.

       30.     Denied, except that Markforged admits that the image purports to be a part of a

webinar from the Markforged website, which speaks for itself.

       31.     Denied, except that Markforged admits that the image purports to be the same or

similar to an image that appears in Exhibit 3, which speaks for itself.

       32.     Denied, except that Markforged admits that the image purports to be a part of a

webinar from the Markforged website, which speaks for itself.

       33.     Denied, except that Markforged admits that the some (but not all) of the quoted

language appears in Exhibits 3 and 4, which speak for themselves.

       34.     Denied.

       35.     Denied, except that Markforged admits that it sells the Metal X print system and

that its website contains certain of the quoted language. Markforged's website speaks for itself.

       36.     Denied, except that Markforged admits that it sells the Metal X print system.

       37.     Denied.

       38.     Paragraph 38 states a legal conclusion to which no response is required. To the

extent a response is required, denied.

       39.     Denied.

                                  COUNT II
             (PURPORTING TO ALLEGE INFRINGEMENT OF ‘118 PATENT)
                                 (Markforged)

       40.     Markforged re-alleges and incorporates the responses set forth in the preceding

paragraphs as if fully set forth herein.

       41.     Denied.

                                                -5-
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 6 of 86



       42.     Denied.

       43.     Denied, except that Markforged admits that the image purports to be a part of a

webinar from the Markforged website, which speaks for itself.

       44.     Denied, except that Markforged admits that the image purports to be the same or

similar to an image that appears in Exhibit 3, which speaks for itself.

       45.     Denied, except that Markforged admits that the image purports to be the same or

similar to an image that appears in Exhibit 3, the quoted language appears in Exhibit 3, and

Exhibit 3 speaks for itself.

       46.     Denied, except that Markforged admits that the image purports to be the same or

similar to an image that appears in Exhibit 3, which speaks for itself.

       47.     Denied, except that Markforged admits that the some (but not all) of the quoted

language appears in Exhibits 3 and 4, which speak for themselves.

       48.     Denied.

       49.     Denied, except that Markforged admits that it sells the Metal X print system and

that its website contains certain of the quoted language. Markforged's website speaks for itself.

       50.     Denied, except that Markforged admits that it sells the Metal X print system.

       51.     Denied.

       52.     Paragraph 52 states a legal conclusion to which no response is required. To the

extent a response is required, denied.

       53.     Denied.




                                                -6-
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 7 of 86



  DEFENDANTS’ ACTS OF TRADE SECRET MISAPPROPRIATION, UNFAIR AND
      DECEPTIVE BUSINESS PRACTICES AND BREACH OF CONTRACT

       54.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 54 and therefore denies the allegations.

       55.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 55 and therefore denies the allegations.

       56.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 56 and therefore denies the allegations.

       57.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 57 and therefore denies the allegations.

       58.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 58 and therefore denies the allegations.

       59.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 59 and therefore denies the allegations.

       60.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 60 and therefore denies the allegations.

       61.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 61 and therefore denies the allegations.

       62.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 62 and therefore denies the allegations.

       63.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 63 and therefore denies the allegations.

       64.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 64 and therefore denies the allegations.


                                               -7-
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 8 of 86



       65.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 65 and therefore denies the allegations, except that Markforged admits

it announced its Metal X printer for 3D printing metal in January 2017 at CES 2017.

       66.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 66 and therefore denies the allegations.

       67.     Denied.

       68.     Denied.

                              COUNT III
(PURPORTING TO ALLEGE VIOLATION OF THE DEFEND TRADE SECRETS ACT
                      OF 2016 (18 U.S.C. § 1836))
                       (Mr. Parangi, Markforged)

       69.     Markforged re-alleges and incorporates the responses set forth in the preceding

paragraphs as if fully set forth herein.

       70.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 70 and therefore denies the allegations.

       71.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 71 and therefore denies the allegations.

       72.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 72 and therefore denies the allegations.

       73.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 73 and therefore denies the allegations.

       74.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 74 and therefore denies the allegations.




                                               -8-
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 9 of 86



       75.     Markforged denies that it ever acquired or received Desktop Metal’s trade secrets.

Markforged is without knowledge or information to form a belief as to the truth of the remaining

allegations of paragraph 75 and therefore denies the allegations.

       76.     Denied.

       77.     Paragraph 77 states a legal conclusion to which no response is required. To the

extent a response is required and to the extent paragraph 77 is directed to Markforged, Markforged

denies the allegations. To the extent paragraph 77 is directed to another defendant, Markforged is

without knowledge or information to form a belief as to the truth of the allegations and therefore

denies the allegations.

       78.     Paragraph 78 states a legal conclusion to which no response is required. To the

extent a response is required and to the extent paragraph 78 is directed to Markforged, Markforged

denies the allegations. To the extent paragraph 78 is directed to another defendant, Markforged is

without knowledge or information to form a belief as to the truth of the allegations and therefore

denies the allegations.

                                 COUNT IV
         (PURPORTING TO ALLEGE TRADE SECRET MISAPPROPRIATION
                            (M.G.L. C. 93, § 42))
                          (Mr. Parangi, Markforged)

       79.     Markforged re-alleges and incorporates the responses set forth in the preceding

paragraphs as if fully set forth herein.

       80.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 80 and therefore denies the allegations.

       81.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 81 and therefore denies the allegations.




                                               -9-
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 10 of 86



       82.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 82 and therefore denies the allegations.

       83.     Markforged is without knowledge or information to form a belief as to the truth of

the allegations of paragraph 83 and therefore denies the allegations.

       84.     Markforged denies that it ever acquired or received Desktop Metal’s trade secrets.

Markforged is without knowledge or information to form a belief as to the truth of the remaining

allegations of paragraph 84 and therefore denies the allegations.

       85.     Denied.

       86.     Paragraph 86 states a legal conclusion to which no response is required. To the

extent a response is required, denied.

                               COUNT V
     (PURPORTING TO ALLEGE UNFAIR OR DECEPTIVE TRADE PRACTICES
                         (M.G.L. C. 93A, § 11))
                        (Mr. Parangi, Markforged)

       87.     Markforged re-alleges and incorporates the responses set forth in the preceding

paragraphs as if fully set forth herein.

       88.     Paragraph 88 states a legal conclusion to which no response is required. To the

extent a response is required, Markforged is without knowledge or information to form a belief as

to the truth of the allegations of paragraph 88 and therefore denies the allegations.

       89.     Paragraph 89 states a legal conclusion to which no response is required. To the

extent a response is required, Markforged is without knowledge or information to form a belief as

to the truth of the allegations of paragraph 89 and therefore denies the allegations.

       90.     Paragraph 90 states a legal conclusion to which no response is required. To the

extent a response is required, Markforged is without knowledge or information to form a belief as

to the truth of the allegations of paragraph 90 and therefore denies the allegations.


                                               - 10 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 11 of 86



       91.     To the extent paragraph 91 is directed to Markforged, Markforged denies the

remaining allegations. To the extent paragraph 91 is directed to another defendant, Markforged is

without knowledge or information to form a belief as to the truth of the allegations and therefore

denies the allegations.

       92.     Denied.

       93.     Paragraph 93 states a legal conclusion to which no response is required. To the

extent a response is required and to the extent paragraph 93 is directed to Markforged, Markforged

denies the allegations. To the extent paragraph 93 is directed to another defendant, Markforged is

without knowledge or information to form a belief as to the truth of the allegations and therefore

denies the allegations.

       94.     Paragraph 94 states a legal conclusion to which no response is required. To the

extent a response is required and to the extent paragraph 94 is directed to Markforged, Markforged

denies the allegations. To the extent paragraph 94 is directed to another defendant, Markforged is

without knowledge or information to form a belief as to the truth of the allegations and therefore

denies the allegations.

       95.     Paragraph 95 states a legal conclusion to which no response is required. To the

extent a response is required and to the extent paragraph 95 is directed to Markforged, Markforged

denies the allegations. To the extent paragraph 95 is directed to another defendant, Markforged is

without knowledge or information to form a belief as to the truth of the allegations and therefore

denies the allegations.




                                              - 11 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 12 of 86



                                  COUNT VI
              (PURPORTING TO ALLEGE BREACH OF CONTRACT (NDA))
                                 (Mr. Parangi)

       96.     Markforged re-alleges and incorporates the responses set forth in the preceding

paragraphs as if fully set forth herein.

       97.     Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 97 and therefore denies the allegations.

       98.     Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 98 and therefore denies the allegations.

       99.     Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 99 and therefore denies the allegations.

       100.    Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 100 and therefore denies the allegations.

       101.    Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 101 and therefore denies the allegations.

                                              - 12 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 13 of 86



       102.    Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 102 also states a

legal conclusion to which no response is required. To the extent a response is required, Markforged

is without knowledge or information to form a belief as to the truth of the allegations of paragraph

102 and therefore denies the allegations.

       103.    Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 103 also states a

legal conclusion to which no response is required. To the extent a response is required, Markforged

denies that it ever acquired or received Desktop Metal’s “Proprietary Information.” Markforged

is without knowledge or information to form a belief as to the truth of the remaining allegations of

paragraph 103 and therefore denies the allegations.

       104.    Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 104 and therefore denies the allegations.

       105.    Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 105 and therefore denies the allegations.

       106.    Paragraphs 97 through 106 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 106 also states a

legal conclusion to which no response is required. To the extent a response is required, Markforged




                                               - 13 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 14 of 86



is without knowledge or information to form a belief as to the truth of the allegations of paragraph

106 and therefore denies the allegations.

                            COUNT VII
 (PURPORTING TO ALLEGE BREACH OF CONTRACT (NON-COMPETITION AND
                  NON-SOLICITATION AGREEMENT))
                            (Mr. Parangi)

       107.    Markforged re-alleges and incorporates the responses set forth in the preceding

paragraphs as if fully set forth herein.

       108.    Paragraphs 108 through 114 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 108 also states a

legal conclusion to which no response is required. To the extent a response is required, Markforged

is without knowledge or information to form a belief as to the truth of the allegations of paragraph

108 and therefore denies the allegations.

       109.    Paragraphs 108 through 114 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 109 and therefore denies the allegations.

       110.    Paragraphs 108 through 114 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 110 and therefore denies the allegations.

       111.    Paragraphs 108 through 114 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 111 also states a

legal conclusion to which no response is required. To the extent a response is required and to the

extent paragraph 111 is directed to Markforged, denied. To the extent paragraph 111 is directed


                                               - 14 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 15 of 86



to another defendant, Markforged is without knowledge or information to form a belief as to the

truth of the allegations and therefore denies the allegations.

       112.    Paragraphs 108 through 114 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 112 and therefore denies the allegations.

       113.    Paragraphs 108 through 114 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. To the extent a response is

required, Markforged is without knowledge or information to form a belief as to the truth of the

allegations of paragraph 113 and therefore denies the allegations.

       114.    Paragraphs 108 through 114 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 114 also states a

legal conclusion to which no response is required. To the extent a response is required, Markforged

is without knowledge or information to form a belief as to the truth of the allegations of paragraph

114 and therefore denies the allegations.

                           COUNT VIII
(PURPORTING TO ALLEGE BREACH OF THE COVENANT OF GOOD FAITH AND
                         FAIR DEALING)
                           (Mr. Parangi)

       115.    Markforged re-alleges and incorporates the responses set forth in the preceding

paragraphs as if fully set forth herein.

       116.    Paragraphs 116 through 118 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 116 also states a

legal conclusion to which no response is required. To the extent a response is required, Markforged




                                                - 15 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 16 of 86



is without knowledge or information to form a belief as to the truth of the allegations of paragraph

116 and therefore denies the allegations.

       117.    Paragraphs 116 through 118 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 117 also states a

legal conclusion to which no response is required. To the extent a response is required and to the

extent paragraph 117 is directed to Markforged, denied. To the extent paragraph 117 is directed

to another defendant, Markforged is without knowledge or information to form a belief as to the

truth of the allegations and therefore denies the allegations.

       118.    Paragraphs 116 through 118 purport to state a claim against another defendant, and

not against Markforged, and do not, therefore, require a response. Paragraph 118 also states a

legal conclusion to which no response is required. To the extent a response is required and to the

extent paragraph 118 is directed to Markforged, denied. To the extent paragraph 118 is directed

to another defendant, Markforged is without knowledge or information to form a belief as to the

truth of the allegations and therefore denies the allegations.

                                     PRAYER FOR RELIEF

       Markforged denies that Desktop Metal is entitled to the judgment and relief requested in

the Prayer for Relief set forth in the Complaint.

                                 REQUEST FOR JURY TRIAL

       Markforged demands a trial by jury on all issues so triable.




                                                - 16 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 17 of 86



                            AFFIRMATIVE & OTHER DEFENSES

       Markforged hereby asserts the following affirmative and other defenses without

undertaking or otherwise shifting any applicable burdens of proof. Markforged incorporates the

facts and allegations in its Answer, Affirmative Defenses and Other Defenses, and Counterclaims

and Third-Party Complaint into each of its defenses. Markforged reserves the right to assert

additional defenses and/or amend these defenses, as warranted by facts learned through

investigation and discovery.

                                         FIRST DEFENSE

       Desktop Metal’s claims are barred in whole or in part because Markforged has not directly

infringed, induced infringement, or contributed to infringement, and does not directly infringe,

induce infringement, or contribute to infringement, of any valid and enforceable claim of the

Asserted Patents, either literally or under the doctrine of equivalents, and has not otherwise

committed any acts in violation of 35 U.S.C. § 271.

                                       SECOND DEFENSE

       Desktop Metal’s claims are barred in whole or in part because one or more claims of the

Asserted Patents are invalid for failure to comply with one or more of the requirements of the

Patent Laws of the United States, 35 U.S.C. §§ 100, et seq., including, but not limited to, §§ 101,

102, 103, and/or 112. The invalidity of certain asserted claims is demonstrated, for example, by

at least prior art references US 2015/0197862 A1 and US 2015/0306664 A1.

                                        THIRD DEFENSE

       Desktop Metal’s claims are barred in whole or in part by reason of estoppel.

       Desktop Metal is estopped from construing any valid claim of the Asserted Patents to be

infringed or to have been infringed, either literally or by application of the doctrine of equivalents,



                                                - 17 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 18 of 86



by any product made, used, imported, sold, or offered for sale by Markforged in view of prior art

and/or because of admissions, representations, and/or statements made to the Patent Office during

prosecution of any application leading to the issuance of the Asserted Patents or any related patent,

because of disclosure or language in the specifications of the Asserted Patents, and/or because of

limitations in the claims of the Asserted Patents.

                                      FOURTH DEFENSE

       Desktop Metal’s claims are barred in whole or in part because Markforged has a license to

the Asserted Patents. In or about January 2016, a Desktop Metal employee ordered a Markforged

Mark One 3D printer to her home at the apparent direction of Desktop Metal, Mr. Fulop and Mr.

Myerberg. See Markforged’s Countercl. & Third-Party Compl. ¶¶ 178-183. On information and

belief, Desktop Metal used the Markforged printer to develop the inventions of the Asserted

Patents, which are derived from and/or improve upon the intellectual property of Markforged.

Under the Terms of Service and Software End User License Agreement, to which Desktop Metal

and its employee agreed at the time of the sale, Desktop Metal has granted to Markforged a fully

paid-up, royalty-free, worldwide, non-exclusive, irrevocable, transferable license in, under, and to

the Asserted Patents.

                                        FIFTH DEFENSE

       The Asserted Patents are unenforceable due to inequitable conduct by the inventors,

prosecuting attorneys, or both, in failing to discharge their duty of candor to the United States

Patent and Trademark Office (“USPTO”). On information and belief, Desktop Metal’s patent

prosecution counsel, the inventors of the Asserted Patents, or both, knowingly omitted or made

affirmative misrepresentations of material information to the USPTO with a specific intent to

deceive the USPTO.



                                               - 18 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 19 of 86



       For example, Desktop Metal, its prosecuting attorneys, or the inventors of the Asserted

Patents did not disclose material prior art references such as US 2015/0197862 A1 and US

2015/0306664 A1 in the course of prosecuting the ‘839 patent. The applicant, Desktop Metal,

disclosed these references in the ’118 patent prosecution here, showing that Desktop Metal knew

of these two references. In particular, at least the prosecuting attorneys of the ‘839 patent knew of

these two references. Moreover, Desktop Metal’s disclosure of the references in the course of

prosecution of the ‘118 patent indicates that Desktop Metal, and its prosecuting attorneys, knew

the two references were material. In light of Desktop Metal’s conspicuous failure to disclose these

references in the course of the ‘839 patent prosecution here, on information and belief, Desktop

Metal deliberately withheld these references in the course of prosecuting the ‘839 patent.

       In addition, at least two of the inventors of the Asserted Patents, Ric Fulop and Jonah

Myerberg, had extensive knowledge of Markforged commercially available 3D-printing products

that constituted prior art to both of the patents-in-suit. Mr. Fulop and Mr. Myerberg failed to

disclose Markforged products as prior art. Mr. Fulop and Mr. Myerberg worked directly with

Markforged’s printers and they thus knew of these devices, which were prior art fused filament

fabrication (or “FFF”) systems for the fabrication of high-strength parts. According to the

Asserted Patents, the claimed inventions relate to the use of FFF systems, like Markforged’s

systems, for the manufacture of high-strength parts. On information and belief, Mr. Fulop and Mr.

Myerberg knew the Markforged prior art was material because such art would render one or more

claims of the Asserted Patents unpatentable. On information and belief, Mr. Fulop and Mr.

Myerberg deliberately withheld information on Markforged prior art products.




                                               - 19 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 20 of 86



                                         SIXTH DEFENSE

       Desktop Metal is not entitled to injunctive relief or enhanced damages because it failed to

plead the required elements for such relief, and because Desktop Metal has an adequate remedy at

law for any alleged injury. Markforged’s actions in defending this action do not give rise to a

finding of exceptional case under 35 U.S.C. § 285 and do not merit a finding of enhanced damages

pursuant to M.G.L. c. 93A, § 11 or M.G.L. c. 93, § 42 or 18 U.S.C. § 1836.

                                      SEVENTH DEFENSE

       Desktop Metal’s claims are barred in whole or in part by 35 U.S.C. §§ 286, 287 or 288.

                                       EIGHTH DEFENSE

       One or more of Desktop Metal’s claims are barred by the doctrine of unclean hands. It is

a well-settled equitable doctrine that one who comes into equity must come with clean hands. As

set forth herein, Desktop Metal has acted in bad faith with respect to the matters at issue in this

case. As just one example, Desktop Metal acquired the information it used to file and obtain the

Asserted Patents as the result of a series of unlawful and deceptive acts.          See generally,

Markforged’s Countercl. & Third-Party Compl. Therefore, Desktop Metal’s requests for equitable

relief should be denied.

                                        NINTH DEFENSE

       Desktop Metal’s claims are barred because it has not suffered any damage as a result of the

allegations in the Complaint. In the alternative, if Desktop Metal has been harmed as alleged (and

denied), the harm was caused in whole or in part by Desktop Metal’s own actions or inactions and

Desktop Metal, therefore, is not entitled to relief.

                                        TENTH DEFENSE

       Desktop Metal’s claims are barred by the doctrines of laches and estoppel.



                                                - 20 -
           Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 21 of 86



                                        ELEVENTH DEFENSE

           Desktop Metal’s claims are barred because its claims are frivolous, brought in bad faith

and/or are brought for an improper purpose and/or were brought without reasonable inquiry.

                                         TWELFTH DEFENSE

           Desktop Metal’s claims are barred in whole or in part because it is unable to establish that

Markforged caused any of the harm for which it is seeking redress.

                                      THIRTEENTH DEFENSE

           Desktop Metal may not recover on its claim, in whole or in part, because it has waived any

rights or claims it may have against Markforged.

                                      FOURTEENTH DEFENSE

           Desktop Metal may not recover on its claim, in whole or in part, because it failed to mitigate

any damages claims it may have against Markforged.

                                        FIFTEENTH DEFENSE

           Desktop Metal’s Complaint fails to state a claim upon which relief can be granted.

                                        SIXTEENTH DEFENSE

                  Plaintiff’s claims are barred, in whole or in part, under the doctrine of in pari

delicto.

                                     SEVENTEENTH DEFENSE

           Plaintiff’s claims alleging misappropriation of trade secrets are barred, in whole or in part,

because the information allegedly misappropriated was readily ascertainable by proper means.

                                      EIGHTEENTH DEFENSE

           Plaintiff’s claims alleging misappropriation of trade secrets are barred, in whole or in part,

because Plaintiff did not take proper efforts to keep the information secret.



                                                   - 21 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 22 of 86



                                    TWENTIETH DEFENSE

       Plaintiff’s claims against Markforged alleging misappropriation of trade secrets and unfair

competition are barred, in whole or in part, because Markforged did not obtain any purported trade

secrets or confidential information by improper means.

                                  TWENTY-FIRST DEFENSE

       Plaintiff’s claims against Markforged alleging misappropriation of trade secrets and unfair

competition are barred, in whole or in part, because Markforged has not used and is not using any

of Plaintiffs’ alleged trade secrets or confidential information.

                                 TWENTY-SECOND DEFENSE

       Plaintiff’s claims alleging misappropriation of trade secrets are barred, in whole or in part,

by Markforged’s independent development.

                                  TWENTY-THIRD DEFENSE

       Plaintiff’s claims alleging misappropriation of trade secrets are barred, in whole or in part,

because the alleged trade secrets or confidential information lack independent economic value.

                                TWENTY-FOURTH DEFENSE

       Plaintiff’s claims alleging misappropriation of trade secrets are barred, in whole or in part,

because Plaintiff’s alleged trade secrets have not been in continuous use.

                                  TWENTY-FIFTH DEFENSE

       Plaintiffs’ claims alleging misappropriation of trade secrets and unfair competition are

barred, in whole or in part, to the extent they are preempted by federal law.

                                 RESERVATION OF RIGHTS

          Markforged reserves the right to add defenses or amend the existing defenses.




                                                - 22 -
       Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 23 of 86



                  COUNTERCLAIMS & THIRD-PARTY COMPLAINT

       Defendant/Counterclaim Plaintiff Markforged, Inc. ("Markforged" or the "Company"), by

and through its undersigned attorneys, Quinn Emanuel Urquhart & Sullivan LLP, for its

counterclaims against Plaintiff/Counterclaim Defendant, Desktop Metal, Inc. ("Desktop Metal")

and claims against Third-Party Defendants Ricardo Fulop, Jonah Myerberg, Boston Impact LLC

("Boston Impact"), and Amy Buntel, hereby state as follows.

                                NATURE OF THE ACTION

       119.   Desktop Metal has had the temerity to sue Markforged even though it is the product

of the unscrupulous and deceptive conduct of Ric Fulop and his long-time friend and business

partner Jonah Myerberg. Fulop joined Markforged at virtually the beginning, providing key

financing from his firm and becoming a Director in June 2013. But Fulop made himself into more

than just a Director: he infiltrated the very heart of Markforged, and maneuvered his way into a

position as a trusted advisor and confidant of Greg Mark, Markforged's Founder and CEO. Fulop

accomplished this by spending innumerable hours at Markforged's premises, traveling with

Markforged executives to visit other potential investors and customers, flying Mr. Mark on his

private jet, discussing and advising on confidential business plans and strategies with Mr. Mark

and other Board members, and generally building himself into Mr. Mark's right-hand man.

However, unbeknownst to Markforged, Fulop was actually stealing Markforged's business

strategies and know-how, to form his own competitive company—which he ultimately did—called

Desktop Metal. In the course of his Machiavellian conduct, Fulop "planted" a long-time friend

and business partner, Myerberg, as a purported "beta tester" for Markforged, but whose real

function was to learn the technical side of Markforged's business while Fulop was learning the




                                             - 23 -
          Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 24 of 86



business side. Fulop even took the name "Desktop Metal" from the original Markforged's business

slogan.

          120.   Fulop then caused Desktop Metal to "jump in front of" Markforged in a race to the

patent office that he never disclosed to Markforged was even occurring. He did the same with his

theft of Markforged's confidential customer lists, business niche and plans, technical information,

and financing opportunities—diverting them to his own company, all the while pretending to be a

trusted Director and founding investor in Markforged.

          121.   Indeed, once ensconced at Desktop Metal, Fulop continued to engage in unfair acts

and conduct, taking key employees and prospects from Markforged, falsely disparaging

Markforged in the marketplace as a manufacturer of cheap plastic 3D printers, and even causing

Third-Party Defendant and employee of Desktop Metal, Amy Buntel, to engage in the ruse of

purchasing a Markforged 3D printer and having it shipped to her home so that Fulop, Myerberg,

and others at Desktop Metal could disassemble, analyze and use it in order to prepare their own

patent applications based on Markforged's product and technology.

          122.   Fulop breached his fiduciary duty to Markforged as a Director and founding

investor through his firm, and he, his new company Desktop Metal, and his cohorts Myerberg and

Buntel, engaged in acts and conduct in the Commonwealth of Massachusetts that are in flagrant

violation of Chapter 93A. That is why Markforged has now sued them by way of these claims.

                                            PARTIES

          123.   Markforged is a Delaware corporation, with its corporate headquarters in

Watertown, Massachusetts.

          124.   Desktop Metal is a Delaware corporation, with a principal place of business in

Burlington, Massachusetts.



                                               - 24 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 25 of 86



       125.    Third-Party Defendant Ricardo Fulop is a natural person who, on information and

belief, resides at 38 Adams Street, Lexington, MA 02420.

       126.    Third-Party Defendant Jonah Myerberg is a natural person who, on information and

belief, resides at 98 Bedford Street, Lexington, MA 02420.

       127.    Third-Party Defendant Boston Impact is a Massachusetts corporation, with a

principal place of business in Lexington, Massachusetts. Myerberg is the Owner and President of

Boston Impact.

       128.    Third-Party Defendant Amy Buntel is a natural person who, on information and

belief, resides at 34 Highland Avenue, North Chelmsford, MA 01863.

                                  JURISDICTION & VENUE

       129.    This is an action for trade secret misappropriation under the Defend Trade Secrets

Act of 2016 (18 U.S.C. § 1836 et seq.), and state and common law claims for breach of fiduciary

duty, tortious interference with contractual relations and prospective contractual relations, breach

of contract, unjust enrichment, trade secret misappropriation, civil conspiracy, and unfair trade

practices. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a), 1338(b), and

1367(a).

       130.    This Court has personal jurisdiction over Desktop Metal. Desktop Metal maintains

its principal place of business in Massachusetts. Furthermore, Desktop Metal transacts business

in Massachusetts, has caused tortious injury to Markforged in Massachusetts, has an interest in

using or possessing real property in Massachusetts, and contracts to supply services or things in

Massachusetts.

       131.    This Court has personal jurisdiction over Ric Fulop. On information and belief,

Ric Fulop resides in Massachusetts. Furthermore, Fulop has transacted business with Markforged



                                               - 25 -
       Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 26 of 86



and Desktop Metal in Massachusetts, has served as a founding investor and Director of Markforged

and as the Founder and CEO of Desktop Metal in Massachusetts, has caused tortious injury to

Markforged in Massachusetts, and on information and belief has an interest in using or possessing

real property in Massachusetts.

       132.    This Court has personal jurisdiction over Jonah Myerberg. On information and

belief, Jonah Myerberg resides in Massachusetts. Furthermore, Myerberg has transacted business

with Desktop Metal and Markforged in Massachusetts, has served as a Co-Founder and Chief

Technology Officer of Desktop Metal in Massachusetts and as the Owner and President of Boston

Impact in Massachusetts, has caused tortious injury to Markforged in Massachusetts, and on

information and belief has an interest in using or possessing real property in Massachusetts.

       133.    This Court has personal jurisdiction over Boston Impact. Boston Impact maintains

its principal place of business in Massachusetts. Furthermore, Boston Impact transacts business

in Massachusetts, has caused tortious injury to Markforged in Massachusetts, has an interest in

using or possessing real property in Massachusetts, and contracts to supply services or things in

Massachusetts.

       134.    This Court has personal jurisdiction over Amy Buntel. On information and belief,

Amy Buntel resides in Massachusetts.         Furthermore, Buntel has transacted business with

Markforged in Massachusetts, is an employee at Desktop Metal in Massachusetts, has breached a

contract with Markforged in Massachusetts and subject to Massachusetts law, has caused tortious

injury to Markforged in Massachusetts, and on information and belief has an interest in using or

possessing real property in Massachusetts.

       135.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and 1391(c). Ric

Fulop, Jonah Myerberg, and Amy Buntel are residents of Massachusetts, a substantial part of the



                                              - 26 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 27 of 86



events giving rise to the claims alleged herein occurred in Massachusetts, Desktop Metal has a

regular and established place of business in Massachusetts, and Boston Impact has a regular and

established place of business in Massachusetts.

                                  FACTUAL ALLEGATIONS

A.     Markforged's Founding

       136.    Greg Mark is the CEO and Founder of Markforged. He has a Bachelors and

Masters in Aeronautics and Astronautics from MIT. In 2013, Mr. Mark targeted the development

of a new, breakthrough product in 3D printing—a high-strength desktop 3D printer that could print

materials as strong as metal—and ultimately metal itself—based on composite technologies that

would be small enough to fit on engineers' desktops, and available at an attractive price point that

was accessible to small-to-medium-sized engineering firms and other similarly sized businesses.

       137.    Mr. Mark's concept constituted a unique niche that nobody in the 3D printing

industry had addressed in the marketplace. "Industrial" quality printers—printing strong, durable,

tough parts—were simply not accessible to smaller firms. The marketplace was filled with very

high end 3D printers that sold at price points of $1 million or more, and as such, were mainly

accessible only to Fortune 500 companies. At the other end of the spectrum were cheap,

underperforming plastic 3D printers at price points of $5,000 or less, but which were not suitable

for most engineering and manufacturing activities. High-strength composite printers of the type

Mr. Mark imagined and developed did not exist at any price point.

       138.    In pursuit of his vision, Mr. Mark founded in his kitchen what was soon to become

a new company, named Markforged—the first part of the name coming from Mr. Mark himself,

and the word "forged" indicating the printing of product using high strength materials.




                                               - 27 -
       Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 28 of 86



       139.    Mr. Mark then began to search for investor funding in order to develop the

Markforged niche. In early 2013, Mr. Mark met the Third-Party Defendant, Ric Fulop. At the

time, Fulop was a General Partner of North Bridge Venture Partners ("North Bridge"), a large

venture capital firm located in Massachusetts, known for investing in early stage or "seed"

companies. In discussions centering around a potential investment, Fulop became quite interested

in the Markforged niche concept. Fulop represented to Mr. Mark that although he did not have

any experience in or technical knowledge about 3D printing, he had over fifteen years of hands-

on experience in successfully funding ventures from "seed" to IPO. Because of his professed belief

in the Markforged business plan, Fulop caused his firm North Bridge to become a founding

investor in Markforged. Fulop joined the Markforged Board of Directors in June 2013.

       140.    Shortly thereafter, Fulop introduced Markforged to Antonio Rodriguez, a General

Partner of Matrix Partners ("Matrix"), another large venture capital firm in Cambridge, MA, also

specializing in "seed" ventures. Unlike Fulop, Mr. Rodriguez brought to the table specific

experience in both the 2D and 3D printing space, and he too was interested in the novel niche

concept that Mr. Mark was in the process of developing.

       141.    After conducting due diligence, Fulop and Rodriguez, through North Bridge and

Matrix, respectively, became the founding investors of Markforged, providing equal amounts of

seed funding. Mr. Rodriguez joined Mr. Mark and Fulop on Markforged's Board of Directors in

June 2013.

B.     Markforged's Product Development

       142.    After substantial research, testing, and analysis, in or about January 2014,

Markforged introduced its revolutionary "Mark One" 3D printer to the market. The Mark One is

a composite 3D printer made in Mr. Mark's vision: a printer using high-strength materials as strong



                                              - 28 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 29 of 86



as metal at an accessible price point, achieving unparalleled strength, stiffness and durability, by

using composite parts (i.e., carbon fiber) that were as strong as metal. Markforged marketed the

Mark One with the descriptive slogan:

                                     "Parts as strong as metal
                                     Printed at your desktop"

        143.    At the time that Markforged released the Mark One, Fulop publicly proclaimed the

new 3D printer as a "big breakthrough."1 And Fulop was right: nobody else in the market had a

high strength, durable printer that could create parts as strong as metal within the same—or even

similar—niche that Markforged had targeted from the beginning.

        144.    In keeping with Mr. Mark's vision for Markforged, the Company continued to work

on the development of composite build technology in its 3D print system. Accordingly, in or about

February 2016, Markforged released its second-generation 3D printer to the market, named the

"Mark Two," which offered more detailed 3D printing capabilities, again using high strength

composite materials as strong as metal, and selling at an accessible price point. In June 2016,

Markforged introduced Onyx, a material that printed a composite of embedded micro-carbon

pieces in plastic.

        145.    In January 2017, Markforged introduced its newest composite build 3D printer, the

"Metal X." As its name suggests, in the same way the Mark One and Two machines printed carbon

fiber and micro-carbon embedded in plastic, the next generation Metal X printed micro-metal

embedded in plastic. Resulting parts—printed with key print head components like those used for

the Mark One and Two—were sinterable into fully functional 3D metal parts. Indeed, the Metal


1
   S. Kirsner, With $1.1 million in bank, Markforged prepares to deliver first-of-its-kind 3D printer,
THE      BOSTON      GLOBE       |   BETA      BOSTON    (Mar.     7,     2014),      available    at
http://www.betaboston.com/news/2014/03/07/with-1-1-million-in-funding-markforged-prepares-
to-start-delivering-first-of-a-kind-3d-printer/.

                                               - 29 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 30 of 86



X was the culmination and natural extension of Markforged's technology and business strategy: to

develop and market a state of the art 3D metal printer that was high strength, durable, and able to

fit on an engineer's desktop, and yet at an attractive and accessible price point.

C.     Fulop Enjoyed Full and Unfettered Access to Markforged's Confidential and
       Proprietary Information as a Founding Investor and Director

       146.    Fulop was a Director at Markforged during the period June 2013 through

September 2015. Moreover, as a partner of North Bridge, he convinced that firm to become a

founding investor in the Company.

       147.    As a founding investor through his firm and one of only three members of

Markforged's Board of Directors, Fulop was entrusted with full and unfettered access to

Markforged's confidential and proprietary information. Fulop arranged for Mr. Mark to move his

operations out of his kitchen and into Fulop's office space at North Bridge in 2013, where he was

regularly on site. He continued to frequent Markforged's premises once they had space of their

own. Fulop took full advantage of that access, spending substantial amounts of time at the

Company, where he fully familiarized himself with Markforged's activities, strategies and

technologies. Indeed, Fulop presented himself as a particularly interested and inquisitive investor

and Director who was continually asking for detailed information about the Company's strategies,

technologies, and plans for product development. Markforged trusted Fulop and fully shared with

him its business and financial plans and its strategies for product development, including its plans

to expand upon the business niche it had already entered and was continuing to develop.

       148.    Fulop also received Markforged's Board of Director presentation decks, which were

replete with confidential information, including customer lists, channel distributors, suppliers,

hiring strategies, technical know-how, financing rounds and financing schedules, investor and




                                                - 30 -
       Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 31 of 86



potential investor names and identities, plans and timing for product development, and analyses of

the strengths and weaknesses of new product development and the market.

       149.    In his capacity as a director and partner of a founding investor, Fulop received

specific confidential information relating to, among other things:

                      (a)     Markforged's customer lists and channel information;

                      (b)     Markforged's key accounts by industry;

                      (c)    Markforged's materials suppliers and rankings of those suppliers,
       including the pros and cons of each;

                      (d)     Markforged's channel resellers;

                      (e)     Markforged's assessment of contract manufacturers;

                      (f)     Markforged's key hiring strategy;

                      (g)     Markforged's strategy, timing, and target investors for its Series B
       fundraising; and

                     (h)    Markforged's confidential and proprietary technology, including
       Markforged’s technical trade secrets, Markforged’s non-published patent applications, and
       Markforged’s future patent strategy.

       150.    The Markforged Board of Director presentation decks Fulop received were labeled

"©MARKFORGED, INC. STRICTLY PRIVATE AND CONFIDENTIAL," and were

disseminated only to Markforged's Board members and certain key employees and counsel. Fulop

also sought and received insider information in connection with Markforged's business plans and

strategies during confidential discussions with Mr. Mark and potential investors and business

partners, as well as during closed Board meetings, on-site visits at Markforged with Mr. Mark and

key engineers, and through regular email correspondence that contained confidential and

proprietary information.

       151.    Markforged maintained the confidentiality and secrecy of the aforementioned

information by taking measures to guard the secrecy of the information and restrict the extent to


                                              - 31 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 32 of 86



which the information was known outside the four walls of Markforged's business. Markforged

protected this information by, among other things, limiting access to its offices, and by password

protecting its computers and networks. None of the information was publicly available, and it

would not otherwise have been accessible to Fulop but for his positions as a founding investor

through North Bridge and a Director at Markforged.

       152.    Fulop has attempted to justify his unfair and deceptive acts and conduct by claiming

(incorrectly) that the business at Desktop Metal is centered on metal printing, while Markforged

business is centered only on composite low-grade printing. However, as Fulop well knows, at all

times material hereto, Markforged intended as part of its business strategy to expand into metal

printing (and it did)—an intention that was fully shared with Fulop when he was a Director and

founding investor in the Company. Indeed, as Fulop also knows, Markforged filed patent

applications early on in connection with a 3D print system that included metals and ceramics.

Furthermore, Fulop and his new company Desktop Metal compete with Markforged, based on

Markforged's business niche, strategies and technologies, whether Markforged intended to expand

into metal printing or not (which it did).

D.     Fulop Concealed that He Was Actively Engaged in Unfair and Deceptive Conduct
       Towards Markforged at the Very Time He Was a Founding Investor and Director

       153.    At the same time that he was obtaining confidential and proprietary information

from Markforged about its business strategies and product development activities, Fulop was

actively—but surreptitiously—engaged in usurping Markforged's business to his own advantage.

Fulop's perfidy culminated in his incorporation of a new competitive enterprise named Desktop

Metal on August 25, 2015—while he was still a Markforged Director and a founding investor

through North Bridge. Mr. Fulop stole the Markforged business roadmap of occupying and

promoting a unique niche in the marketplace for 3D printers, and also took Markforged's strategy


                                              - 32 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 33 of 86



of developing next generation 3D metal printers. Fulop even took the name of his new company,

"Desktop Metal," from the original Markforged business slogan, as follows:

                                     "Parts as strong as metal
                                     Printed at your desktop"

       154.     At the same time that Fulop was engaged in starting up a competitive company to

Markforged, Fulop was in the process of leaving his partnership at North Bridge, too. Accordingly,

Fulop concealed his activities from both Markforged and North Bridge and waited for Desktop

Metal's entry into the 3D marketplace until he left his firm.

       155.     While a Director at Markforged, Fulop "jumped in front of" Markforged both in

terms of filing for a patent and in approaching the financial investor community for financing of

his new company. Using Markforged's business plans, insider information and know-how, Fulop

apparently was able to obtain almost a third of a billion dollars in outside investments. Fulop then

began contacting Markforged's customers using the customer lists that Markforged had provided

him during the time that he was a Markforged Director.

       156.     Fulop now brazenly boasts on the website of his new company Desktop Metal about

his unfair and deceptive conduct—during the same time that he was a Director and a principal

founding investor in Markforged—stating: "In 2013 [I] began collaborating with world leading

experts in material science, engineering and 3D printing . . . to form the basis for Desktop Metal's

technology."2




2
   Desktop Metal, "About Us," available at https://www.desktopmetal.com/company/about/ (last
visited Apr. 20, 2018).

                                               - 33 -
       Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 34 of 86



E.     Fulop Secretly Planted a Long-Time Friend and Business Partner Named
       Jonah Myerberg at Markforged to Obtain Markforged Technical Know-How

       157.   One of the important steps that Fulop took to surreptitiously obtain key technical

know-how from Markforged was to introduce one of his long-time friends and business partners,

Jonah Myerberg, to Markforged, and to secure a position for Myerberg as a "beta tester" where he

would have access to Markforged's technical know-how and other proprietary information.

Myerberg was Fulop's right-hand man at Fulop's prior endeavor, a company called A123 Systems,

which had soared in value for a time but then crashed and burned, ending up in bankruptcy.

       158.   On the basis of Fulop's recommendation and advice, Markforged retained

Myerberg as a beta tester for its 3D printers in July 2014, through Myerberg's company Boston

Impact. Because Markforged would have to provide Myerberg with certain confidential and

proprietary information in order for him to conduct the beta testing, Markforged caused Myerberg,

through his company Boston Impact, to sign a Non-Disclosure Agreement (the "NDA"). Boston

Impact was a signatory to the NDA, which Jonah signed on its behalf as President of Boston

Impact. The NDA required that Boston Impact, maintain in strict confidence all the confidential

information he received from Markforged—including but not limited to product designs,

roadmaps, techniques, schematics, and processes.3

       159.   Myerberg was on site at Markforged multiple times in 2014, meeting with Mr. Mark

and Markforged's other top engineers and product developers, purportedly in connection with his

beta testing. In truth, Myerberg had been planted at the Company by Fulop to familiarize himself

with proprietary information so that Fulop and Myerberg could use the information in forming

their new company.


3
 Exhibit A, Markforged, Inc. Mutual Non-Disclosure Agreement (July 22, 2014), by and between
Markforged, Inc. and Boston Impact LLC.

                                             - 34 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 35 of 86



        160.   In pursuit of that, Myerberg requested and received information relating to

Markforged's specific technical know-how and processes that went beyond the scope of his role

as a beta tester. But Markforged trusted Myerberg and based on Fulop's assurances, Markforged

provided Myerberg with substantial amounts of its confidential and proprietary information,

including walking Myerberg through, in detail, the method and manner in which the Markforged

3D printers worked.

        161.   In retrospect, Markforged now realizes that Myerberg was requesting a broad swath

of confidential information because he was using it to assist Fulop in developing what became

Desktop Metal. Markforged's understanding has been confirmed by Myerberg's own public

admission that he was working with Fulop as early as 2014 to develop a new company to enter the

same niche space occupied by Markforged for printing 3D metal parts. 4 Neither Fulop nor

Myerberg disclosed to Markforged at any time their plans, which were designed to harm

Markforged.

        162.   Based in material part on the information that both he and Fulop obtained from

Markforged, Myerberg became a Co-Founder and Chief Technology Officer of Desktop Metal in

2015.

        163.   In addition to Myerberg’s collection of technical information from Markforged,

Fulop also actively solicited and collected technical know-how while serving on Markforged’s

Board of Directors. For example, in July 2015, Fulop requested information from Markforged

about the wattage, when excluding the heat element, of its 3D printers. When Markforged asked



4
 M. Molitch-Hou, Desktop Metal's CTO on the Next Generation of Metal 3D Printing,
engineering.com (June 12, 2017), available at
https://www.engineering.com/3DPrinting/3DPrintingArticles/ArticleID/15063/Desktop-Metals-
CTO-on-the-Next-Generation-of-Metal-3D-Printing.aspx.

                                             - 35 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 36 of 86



Fulop why he was interested in that type of technical information, Fulop deflected by stating that

he was "personally curious." However, as Fulop knew but failed to disclose to Markforged, he

wanted that power usage information for his new company, because this information is important

to designing a 3D printer that can be safely used in a desktop office space with standard electrical

capabilities.

        164.    While still a Director, Fulop repeatedly engaged in other unfair and deceptive

conduct towards Markforged by asking for and receiving Markforged's technical know-how in an

apparent effort to collect Markforged proprietary technical information for use by Desktop Metal.

Fulop sought and obtained information from Markforged about thermal breaks Markforged used

in its 3D printers, key technical know-how Markforged obtained through extensive trial and error.

Fulop also obtained information on in the effective extrusion of 3D composites and metals, and

his partner Myerberg's learning about the functions of the Markforged 3D printer from the

proverbial head to toe while he was posing as merely a beta tester, and sharing that information

with Fulop.

        165.    On information and belief, Desktop Metal obtained and misused Markforged

confidential and proprietary information that had been misappropriated by Fulop, Myerberg,

Boston Impact and others. Desktop Metal did so in order to accelerate its efforts to compete—and

indeed did accelerate its efforts to compete—with Markforged in the marketplace.

        166.    Moreover, on information and belief, Desktop Metal used Markforged proprietary

information when filing patent applications for Desktop Metal.            This included disclosing

Markforged proprietary information in the patent applications that led to the Asserted Patents in

this case. Examples of Markforged proprietary information incorporated into Desktop Metal’s

patent applications includes: (i) the use of a heat drive wheel to head a build material to a working



                                               - 36 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 37 of 86



temperature; (ii) the use of soft rollers to feed the printhead; (iii) the use of ultrasonic disruption

to increase Z-layer strength and obtain better layer-to-layer adhesion; (iv) dynamically monitoring

deposited layers to assess printer performance; and (v) the use of nozzle material choice, including

high-hardness materials, to solve nozzle wear issues.

F.     Fulop Used His Position as a Markforged Board Member to Solicit Key Hires to
       Work for Desktop Metal Instead

       167.    Fulop used the information that he was able to obtain because of his position as a

Director and partner of a founding investor to harm Markforged and enhance his own ability to

start a competitive company. For example, Fulop learned that one of Markforged's "dream" hiring

targets was an individual named Rick Chin, who was experienced in product management. Fulop

knew not only that Markforged had targeted Mr. Chin as a key hire, but he was also privy to

confidential information about the amount of compensation that Markforged was offering to Mr.

Chin, as well as Mr. Chin's counteroffers. In August of 2015, while a Markforged Board member,

Fulop falsely represented to Markforged that Mr. Chin had been hired by "another North Bridge

company" and was no longer available. In truth, Fulop failed to disclose that he was at that same

time negotiating with Mr. Chin to retain him for product management and development at Desktop

Metal, taking the opportunity of hiring Mr. Chin for himself

       168.     As a result of Fulop's unfair and deceptive conduct, Mr. Chin turned down

Markforged's offer and became a Co-Founder and Vice President of Software Development at

Desktop Metal in 2015.

       169.    Another example of Fulop's using information that he obtained as a Director to

benefit his new company Desktop Metal involved an individual named Matt Verminski, who was

flagged in Markforged's Board decks as a potential hire. Fulop learned about Verminski from the

information he received as a Director at Markforged and then hired Verminski in 2015 for the


                                                - 37 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 38 of 86



position of Vice President of Engineering at his new company, without disclosing that to

Markforged, and taking the opportunity of hiring Mr. Verminski for himself. Mr. Verminski is

now an inventor on Desktop Metal patents at issue in this litigation.

G.     Fulop Used His Position as a Markforged Board Member to Secure Desktop Metal's
       Financing in Advance of Markforged's Fundraising Efforts

       170.    As a Markforged Director and partner of a founding investor, Fulop was also privy

to confidential meetings between Markforged and potential investors, which he then used to his

own advantage. For example, in September 2014, Markforged had a meeting with General Electric

Ventures, an investment firm that expressed interest in a next generation 3D printer using metal in

the very business niche then occupied exclusively by Markforged. Fulop subsequently used that

information—while still a member of the Markforged Board—to obtain financing from General

Electric Ventures for his own company, Desktop Metal, to the detriment of Markforged, and

without disclosing his actions to Markforged.

       171.    Fulop also surreptitiously solicited funding for Desktop Metal while he was still a

Director at MarkForged. Indeed, Fulop obtained information as a Board member relating to the

timing and substance of a key Series B fundraising effort by Markforged set to kick off in

September 2015, which he then used to jump in front of Markforged in soliciting financing for his

new company, Desktop Metal, all while still a member of the Markforged Board.

       172.    Fulop also took advantage of his position as a Director and partner of a founding

investor to obtain samples of Markforged's printed parts, such as a 3D printed motorcycle brake,

which Fulop then used in connection with his own fundraising efforts on behalf of his new

company, without disclosing to Markforged such use.




                                                - 38 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 39 of 86



       173.    Fulop even used his knowledge about Markforged's technologies and the status of

its pursuit of patents to jump in front of Markforged in a surreptitious race to the patent office that

he never disclosed to Markforged was in process.

H.     Fulop Lied to Markforged and Others About His Competitive Venture

       174.    In September 2015, Fulop—while still a Markforged Board member—approached

the other founding investor in Markforged, Antonio Rodriguez at Matrix, and requested that Matrix

participate in the funding of Desktop Metal. When word of Fulop's overtures got back to

Markforged, Mr. Mark confronted Fulop about the nature of his activities. Although he was a

Director and partner of a principal founding investor, Fulop lied to Mr. Mark, telling him that he

was merely considering investing at the seed level in a 3D metal printing company that was in a

different business. After Mr. Mark at Markforged continued to pursue the issue, Fulop finally

admitted that he was starting a new company in the 3D printer market, but Fulop assured Mr. Mark

that the company would be developing and marketing 3D printers that were "10-30X more

expensive" than Markforged's products, and he told Markforged that in no way would his company

be competing in the Markforged niche market space. Fulop made the same representations to Mr.

Rodriguez at Matrix and to North Bridge. In fact, Fulop's statements and reassurances to Mr. Mark

and others were completely untrue, as Fulop well knew at the time.

       175.    Markforged subsequently learned that while Fulop was still a Director and

founding investor through his firm, Fulop was actually (and incorrectly) representing to the

marketplace and potential investors in his business presentations that Markforged was a cheap,

low-strength, plastic 3D printing company, while his new company, Desktop Metal, would be

selling a high-strength printer that would be efficient, small enough to fit on engineers' desktops,

and available at an accessible price point—the very niche that Markforged has occupied since its

inception. Indeed, Desktop Metal products were marketed at approximately $60,000 (or $5,000

                                                - 39 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 40 of 86



per month)—in direct competition with Markforged's market segment for high-strength, relatively

low cost printers.

I.     Fulop Continued to Improperly Infiltrate Markforged

       176.    On or about September 30, 2015, Fulop was removed from Markforged's Board

because: (a) he was no longer a partner at North Bridge; and (b) of his suspected unfair and

deceptive acts and conduct.

       177.    But even after Fulop was removed from Markforged's Board, he continued to

infiltrate Markforged's business in order to gain know-how and insider knowledge for his new

company, Desktop Metal.

       178.    For example, on or about January 12, 2016, at Fulop's and Myerberg's apparent

instruction, Desktop Metal's "Start-Up Office Facilitator," Amy Buntel ordered a Markforged

Mark One 3D printer to her home. Buntel did not disclose her affiliation with Desktop Metal,

instead using her own personal information and the email address "AmyBsPrinter@gmail.com" to

place the order.

       179.    Fulop and Myerberg directed and caused Buntel to order the Markforged printer so

that Desktop Metal could disassemble, reverse engineer, analyze and use it in order to copy and

utilize more completely Markforged's proprietary engineering methodologies and print metal, and

which in fact they did.

       180.    Markforged's Terms of Service—to which Buntel and her Organization (i.e.,

Desktop Metal) agreed in order to make the purchase—expressly prohibit jeopardizing,

encumbering, limiting, or interfering in any manner with Markforged's ownership of the printer's




                                             - 40 -
          Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 41 of 86



technology and software, as well as any direct or indirect modification, adaptation, disassembly,

or analysis of the machine.5

        181.    The Terms of Service provide a "fully paid-up, royalty-free, worldwide, non-

exclusive, irrevocable, transferable right and license in, under, and to any patents and copyrights

enforceable to any country, issued to, obtained by, developed by or acquired by You [Buntel or

her Organization (i.e., Desktop Metal)] that incorporate, are derived from and/or improve upon the

Intellectual Property of MarkForged; are developed using the Service(s), Products or Software;

and are directed to 3D printing equipment or software, uses thereof, or printing materials thereof."6

The Terms of Service further provide indemnification for Markforged, including all expenses and

reasonable attorneys fees, for any claim, suit or proceeding in connection with a breach of the

Terms.7

        182.    As a Director, Fulop was intimately familiar with Markforged's Terms of Service

and the Board's decision to include these restrictions in the Terms. He attempted to personally

circumvent those Terms by putting Buntel up to the task instead of his or his company doing it

directly.

        183.    A few months after Fulop and Myerberg's ruse using Ms. Buntel, on April 14, 2016,

Desktop Metal filed its first provisional patent application for metal injection molding, which

described a 3D printer just like Markforged's, using metal composites.

        184.    Additionally, on or about September 2016, Fulop hired away one of Markforged's

engineers, Myles Cooper. Cooper had substantial knowledge of Markforged's technical know-


5
   Exhibit B, Markforged, Inc. EIGER.IO Terms of Service and EIGER Software End User
License Agr. (Jan. 2016) at § 3 "Restrictions" & § 5 "Markforged Proprietary Rights."
6
    Id. at § 5.2 "License" & p. 1 (defining "You" as "you or your Organization").
7
    Id. at § 6 "Indemnification and Warranties."

                                               - 41 -
           Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 42 of 86



how, including how its printers were designed and operated, as well as the various content

applications for the printers. Cooper also had access to Markforged's engineering and design

documents, including mechanical, electrical, and software design files, source code, as well as

business and technical evaluations, testing, and performance.

           185.   Cooper executed a Non-Competition and Non-Solicitation Agreement (the "Non-

Disclosure Agreement") with Markforged on June 1, 2016.8 Desktop Metal's hiring Cooper caused

a breach of his agreement with Markforged. Cooper's Non-Competition Agreement required that

Cooper "not directly or indirectly [e]ngage or assist the others in engaging in any business or

enterprise . . . that is competitive with [Markforged's] business . . . ."9 The terms of the agreement

were in effect for one year, through June 1, 2017.10

                                            COUNT I
              (Violation of the Defend Trade Secrets Act of 2016 (18. U.S.C. § 1836))
                                           (Ric Fulop)

           186.   The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

           187.   Markforged is the owner of trade secrets that Ric Fulop misappropriated. These

trade secrets relate to 3D printing high-strength parts on a desktop, which are used in, or intended

for use in, interstate or foreign commerce.

           188.   As a Markforged Director and partner in a founding investor of Markforged, Ric

Fulop was under a fiduciary duty not to use or disclose Markforged's confidential or proprietary

information, including all trade secrets.


8
  Exhibit C, Markforged, Inc. Non-Competition and Non-Solicitation Agreement (June 1, 2016),
by and between Markforged, Inc. and Myles Cooper.
9
     Id. § 1(a)(c).
10
     Id.

                                                - 42 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 43 of 86



       189.    Markforged's confidential and proprietary information includes trade secrets.

       190.    Markforged took reasonable measures to protect and maintain the secrecy of its

trade secrets and confidential and proprietary information, including but not limited to, having its

employees and any entities or individuals that performed work on its behalf sign confidentiality

and non-disclosure agreements prohibiting removal of any materials containing confidential,

proprietary information from its premises except in the pursuit of Markforged's business, limiting

access to its offices, limiting access to its computer systems, and marking Board decks containing

confidential, proprietary information with: "©MARKFORGED, INC. STRICTLY PRIVATE

AND CONFIDENTIAL."

       191.    Markforged has expended significant resources to develop its trade secrets and

other confidential and proprietary information, to offer a unique and revolutionary way to 3D print

high-strength parts on a desktop. Markforged's trade secrets and confidential and proprietary

information, derive independent economic value, actual or potential, from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. These trade secrets and

confidential, proprietary information are highly valuable to Markforged and to any other person or

entity that wants to enter the field of 3D printing high-strength parts in a desktop environment.

       192.    Ric Fulop knew, or had reason to know, that he had acquired trade secrets from

Markforged through improper means, and disclosed Markforged's trade secrets to Desktop Metal

and others, in direct violation of his fiduciary obligations to Markforged.

       193.    As a direct and proximate result of Ric Fulop's misappropriation of Markforged's

trade secrets and other confidential and proprietary information, Markforged has suffered and will

continue to suffer irreparable harm and other damages, including but not limited to, loss of value



                                               - 43 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 44 of 86



of its trade secrets. Markforged is therefore entitled to civil seizure of property, injunctive relief,

monetary damages for its actual losses, and monetary damages for unjust enrichment where

damages for its actual losses are not adequately addressed.

                                         COUNT II
            (Violation of the Defend Trade Secrets Act of 2016 (18. U.S.C. § 1836))
                               (Jonah Myerberg, Boston Impact)

        194.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        195.    Markforged is the owner of trade secrets that Jonah Myerberg and Boston Impact

misappropriated. These trade secrets relate to 3D printing high-strength parts on a desktop, which

are used in, or intended for use in, interstate or foreign commerce.

        196.    Boston Impact agreed not to use or disclose Markforged's confidential or

proprietary information, including all trade secrets. At all relevant times, Myerberg was the Owner

and President of Boston Impact.

        197.    Markforged's confidential and proprietary information includes trade secrets.

        198.    Markforged took reasonable measures to protect and maintain the secrecy of its

trade secrets and confidential and proprietary information, including but not limited to, having its

employees and any entities or individuals that performed work on its behalf sign confidentiality

and non-disclosure agreements prohibiting removal of any materials containing confidential,

proprietary information from its premises except in the pursuit of Markforged's business, limiting

access to its offices, limiting access to its computer systems, and marking Board decks containing

confidential, proprietary information with: "©MARKFORGED, INC. STRICTLY PRIVATE

AND CONFIDENTIAL."




                                                - 44 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 45 of 86



        199.    Markforged has expended significant resources to develop its trade secrets and

other confidential and proprietary information, to offer a unique and revolutionary way to 3D print

high-strength parts on a desktop. Markforged's trade secrets and confidential and proprietary

information, derive independent economic value, actual or potential, from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. These trade secrets and

confidential, proprietary information are highly valuable to Markforged and to any other person or

entity that wants to enter the field of 3D printing high-strength parts in a desktop environment.

        200.    Jonah Myerberg and Boston Impact knew, or had reason to know, that they had

acquired trade secrets from Markforged through improper means, and disclosed Markforged's

trade secrets to Desktop Metal and others, in direct violation of his express obligations to

Markforged.

        201.    As a direct and proximate result of Jonah Myerberg's and Boston Impact's

misappropriation of Markforged trade secrets and other confidential and proprietary information,

Markforged has suffered and will continue to suffer irreparable harm and other damages,

including, but not limited to, loss of value of its trade secrets. Markforged is therefore entitled to

civil seizure of property, injunctive relief, monetary damages for its actual losses, and monetary

damages for unjust enrichment where damages for its actual losses are not adequately addressed.

                                         COUNT III
            (Violation of the Defend Trade Secrets Act of 2016 (18. U.S.C. § 1836))
                                       (Desktop Metal)

        202.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.




                                                - 45 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 46 of 86



       203.    Markforged is the owner of trade secrets that Desktop Metal, through Ric Fulop,

Jonah Myerberg, Boston Impact, and Myles Cooper, among others, misappropriated. These trade

secrets relate to 3D printing high-strength parts on a desktop, which are used in, or intended for

use in, interstate or foreign commerce.

       204.    Desktop Metal was aware of Ric Fulop's, Jonah Myerberg's, Boston Impact's, and

Myles Cooper's obligations to Markforged. Markforged took reasonable measures to protect and

maintain the secrecy of its trade secrets and confidential and proprietary information, including

but not limited to, having its employees and any entities or individuals that performed work on its

behalf sign confidentiality and non-disclosure agreements prohibiting removal of any materials

containing confidential, proprietary information from its premises except in the pursuit of

Markforged's business, limiting access to its offices, limiting access to its computer systems, and

marking Board decks containing confidential, proprietary information with: "©MARKFORGED,

INC. STRICTLY PRIVATE AND CONFIDENTIAL."

       205.    Markforged has expended significant resources to develop its trade secrets and

other confidential, proprietary information, to offer a unique and revolutionary way to 3D print

high-strength parts on a desktop.         Markforged's trade secrets and confidential proprietary

information derive independent economic value, actual or potential, from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. These Markforged trade

secrets and confidential and proprietary information are highly valuable to Markforged and to any

other person or entity that wants to enter the field of 3D printing high-strength parts in a desktop

environment.




                                                - 46 -
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 47 of 86



         206.   Desktop Metal knew, or had reason to know, that it acquired trade secrets from

Markforged through improper means and used Markforged's trade secrets without Markforged's

consent, knowing or having reason to know that the trade secrets were acquired by improper

means.

         207.   As a direct and proximate result of Desktop Metal's misappropriation of trade

secrets and other confidential and proprietary information, Markforged has suffered and will

continue to suffer irreparable harm and other damages, including, but not limited to, loss of value

of its trade secrets. Markforged is therefore entitled to civil seizure of property, injunctive relief,

monetary damages for its actual losses, and monetary damages for unjust enrichment where

damages for its actual losses are not adequately addressed.

                                       COUNT IV
   (Misappropriation of Trade Secrets and Confidential Information (M.G.L. c. 93 § 42))
                                       (Ric Fulop)

         208.   The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

         209.   Ric Fulop was a partner of a founding investor of Markforged, and member of the

Board of Directors at Markforged from June 2013 through September 2015. As a partner of a

founding investor and a Director of Markforged, Ric Fulop accessed numerous trade secrets and

proprietary, confidential information at Markforged, including but not limited to customer lists,

target customers, channel distributors, suppliers, key accounts, hiring strategies, testing and design

information, financing rounds and financing schedules, investors and potential investors, plans and

timing for product development, market share information, sales strategies, analysis of strengths

and weaknesses of new product development and the market, and engineering specifications for

Markforged's 3D printers. This information was held in strict confidence and confidentiality by



                                                - 47 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 48 of 86



Markforged and only made available to Fulop in his capacity as a director and partner of a founding

investor.

       210.    Markforged took reasonable measures to protect and maintain the secrecy of its

trade secrets and confidential and proprietary information, including, but not limited to, having its

employees and any entities or individuals that performed work on its behalf sign confidentiality

and non-disclosure agreements prohibiting removal of any materials containing confidential,

proprietary information from its premises except in the pursuit of Markforged's business, limiting

access to its offices, limiting access to its computer systems, and marking Board decks containing

confidential, proprietary information with: "©MARKFORGED, INC. STRICTLY PRIVATE

AND CONFIDENTIAL."

       211.    Markforged has expended significant resources to develop its trade secrets and

other confidential, proprietary information, to offer a unique and revolutionary way to 3D print

high-strength parts on a desktop.       Markforged's trade secrets and confidential proprietary

information derive independent economic value, actual or potential, from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. These trade secrets and

confidential, proprietary information are highly valuable to Markforged and to any other person or

entity that wants to enter the field of 3D printing high-strength parts on a desktop.

       212.    Ric Fulop stole or unlawfully took, carried away, concealed, and/or copied trade

secrets and other confidential proprietary information from Markforged and disclosed

Markforged's trade secrets and other confidential proprietary information to Desktop Metal, in

direct violation of his fiduciary obligations to Markforged.




                                               - 48 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 49 of 86



        213.    As a direct and proximate result of Ric Fulop's misappropriation of trade secrets

and other confidential and proprietary information, Markforged has suffered and will continue to

suffer irreparable harm and other damages, including, but not limited to, loss of value of its trade

secrets. Markforged is entitled to injunctive relief and monetary damages in an amount twice its

actual damages.

                                       COUNT V
   (Misappropriation of Trade Secrets and Confidential Information (M.G.L. c. 93 § 42))
                            (Jonah Myerberg, Boston Impact)

        214.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        215.    Jonah Myerberg, by and through his company Boston Impact, was a beta tester for

Markforged in 2014, under a Non-Disclosure Agreement between Markforged and Boston Impact

that continued in effect until June 2016. As a beta tester, Myerberg accessed numerous trade

secrets and proprietary, confidential information at Markforged including but not limited to

product designs, roadmaps, techniques, schematics, and processes, and the engineering

specifications for Markforged's 3D printers. This information was held in strict confidence and

confidentiality by Markforged and only made available to Myerberg in his capacity as a beta tester.

Markforged took reasonable steps to maintain the confidentiality of this information, including by

having Boston Impact enter a Non-Disclosure Agreement, limiting access to its offices, limiting

access to its computer systems, and having its employees and entities or individuals that perform

work on its behalf sign confidentiality or non-disclosure agreements prohibiting removal of any

materials containing confidential, proprietary information from its premises except in the pursuit

of Markforged's business.




                                               - 49 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 50 of 86



        216.    Markforged has expended significant resources to develop its trade secrets and

other confidential, proprietary information, to offer a unique and revolutionary way to 3D print

high-strength parts on a desktop.         Markforged's trade secrets and confidential proprietary

information derive independent economic value, actual or potential, from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. These trade secrets and

confidential, proprietary information are highly valuable to Markforged and to any other person or

entity that wants to enter the field of 3D printing high-strength parts on a desktop.

        217.    Jonah Myerberg and Boston Impact stole or unlawfully took, carried away,

concealed, and/or copied trade secrets and other confidential proprietary information from

Markforged and disclosed Markforged's trade secrets and other confidential proprietary

information to Desktop Metal, in direct violation of his express obligations to Markforged.

        218.    As a direct and proximate result of Jonah Myerberg's and Boston Impact's

misappropriation of trade secrets and other confidential and proprietary information, Markforged

has suffered and will continue to suffer irreparable harm and other damages, including, but not

limited to, loss of value of its trade secrets. Markforged is entitled to injunctive relief and monetary

damages in an amount twice its actual damages.

                                       COUNT VI
   (Misappropriation of Trade Secrets and Confidential Information (M.G.L. c. 93 § 42))
                                     (Desktop Metal)

        219.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        220.    Desktop Metal, through its Co-Founder and CEO Ric Fulop, its Co-Founder and

CTO Jonah Myerberg, and its mechanical engineer Myles Cooper, among others, accessed



                                                 - 50 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 51 of 86



numerous trade secrets and proprietary, confidential information at Markforged, including but not

limited to customer lists, target customers, channel distributors, suppliers, key accounts, hiring

strategies, testing and design information, financing rounds and financing schedules, investors and

potential investors, plans and timing for product development, market share information, sales

strategies, analysis of strengths and weaknesses of new product development, the market,

engineering specifications for Markforged's 3D printers, and technical know-how regarding how

Markforged's 3D printers functions including roadmaps, techniques, schematics, and processes,

and the engineering specifications.      This information was held in strict confidence and

confidentiality by Markforged and only made available to Fulop in his capacity as a director and

partner of a founding investor, Myerberg in his capacity as a beta tester for Markforged and subject

to his executed Non-Disclosure Agreement, and Cooper in his capacity as engineer for Markforged

and subject to his Non-Compete and Non-Solicitation Agreement.

       221.    Markforged took reasonable measures to protect and maintain the secrecy of its

trade secrets and confidential and proprietary information, including but not limited to, having its

employees and any entities or individuals that performed work on its behalf sign confidentiality

and non-disclosure agreements prohibiting removal of any materials containing confidential,

proprietary information from its premises except in the pursuit of Markforged's business, limiting

access to its offices, limiting access to its computer systems, and marking Board decks containing

confidential, proprietary information with: "©MARKFORGED, INC. STRICTLY PRIVATE

AND CONFIDENTIAL."

       222.    Markforged has expended significant resources to develop its trade secrets and

other confidential and proprietary information, to offer a unique and revolutionary way to 3D print

high-strength parts on a desktop.      Markforged's trade secrets and confidential proprietary



                                               - 51 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 52 of 86



information derive independent economic value, actual or potential, from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. These trade secrets and

confidential, proprietary information are highly valuable to Markforged and to any other person or

entity that wants to enter the field of 3D printing high-strength parts on a desktop.

       223.    Desktop Metal, through Ric Fulop, Jonah Myerberg, Boston Impact, and Myles

Cooper, among others, stole or unlawfully took, carried away, concealed, and/or copied trade

secrets and other confidential proprietary information from Markforged and disclosed

Markforged's trade secrets and other confidential proprietary information, in direct violation of

their express or implied obligations to Markforged, to Desktop Metal, at the direction of Desktop

Metal and to Desktop Metal's benefit.

       224.    On information and belief, Desktop Metal knowingly received the benefits from

the disclosure and/or use of Markforged's proprietary information. Ric Fulop, Jonah Myerberg,

Boston Impact, Myles Cooper, and Desktop Metal thus in concert used improper means, in breach

of Ric Fulop's fiduciary duty to Markforged and Jonah Myerberg's, Boston Impact's, and Myles

Cooper's confidential relationship with and contractual obligations to Markforged, to acquire

Markforged's trade secrets and other confidential, proprietary information.

       225.    As a direct and proximate result of Desktop Metal's misappropriation of trade

secrets and other confidential and proprietary information, Markforged has suffered and will

continue to suffer irreparable harm and other damages, including, but not limited to, loss of value

of its trade secrets. Markforged is entitled to injunctive relief and monetary damages in an amount

twice its actual damages.




                                               - 52 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 53 of 86



                                           COUNT VII
                                     (Breach of Fiduciary Duty)
                                            (Ric Fulop)

        226.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        227.    As a partner of a founding investor of Markforged and member of Markforged's

Board of Directors, Ric Fulop owed Markforged a fiduciary duty of loyalty to act in the best

interests of Markforged. Fulop breached that duty of loyalty.

        228.    Fulop used his position as a Markforged Director and partner of a founding investor

to benefit his own personal interests, and the interests of a competitor company, Desktop Metal,

which he covertly founded while a Board member and partner of a founding investor of

Markforged. Fulop's actions in breach of his fiduciary duty include but are not limited to, taking

Markforged's business opportunities, as well as its trade secret, proprietary and confidential

information such as customer lists, potential investors, business strategies and other know-how,

known to him only through his role as a Director and partner of a founding investor of Markforged,

and using that information to Desktop Metal's advantage and Markforged's detriment, as well as

by failing to disclose his conflict of interest in forming, and preparing to form, Desktop Metal to

Markforged.

        229.    While serving as a Board member of Markforged, Fulop also usurped corporate

opportunities that should have benefitted Markforged. Namely, Fulop, as a member of the

Markforged Board and a partner of a founding investor of Markforged, should have brought the

corporate opportunity of the 3D metal printers marketed by Desktop Metal to Markforged but

failed to disclose that opportunity to Markforged. Fulop knew that Markforged had planned, from

the beginning, to introduce a series of composite printers to the market, starting with carbon fiber,



                                               - 53 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 54 of 86



and expanding to metal and ceramic. Fulop acquired information about expanding into the metal

3D printing business as a Director and partner of a founding investor in Markforged, and used that

information about that corporate opportunity to pursue that opportunity for himself through

founding his own company, Desktop Metal, while stile a Markforged Board member, instead of

aiding Markforged with the natural extension of its product offerings, and offering that opportunity

to Markforged.

        230.    Fulop also should have brought the corporate opportunity of additional investor

funding to Markforged, but did not. This included almost a third of a billion dollars in investor

funding to advance 3D metal printing. Not only did Fulop not provide the corporate opportunity

of that funding to Markforged, he surreptitiously got out ahead of Markforged's Series B funding

round, while still a Markforged Board member, in order to usurp those investor dollars for Desktop

Metal before Markforged could even ask for them.

        231.    Fulop should have brought the corporate opportunity of 3D metal printing-related

patent applications to Markforged, but did not.         Instead, Fulop used his knowledge about

Markforged's planned patenting schedule to get out ahead of Markforged's patent applications, in

a surreptitious race to the patent office.

        232.    Fulop should have brought the corporate opportunity of partnering and

collaborating with key engineers and professors in the 3D printing industry to Markforged,

including but not limited to partnerships and collaborations with Jonah Myerberg, Rick Chin, Ely

Sachs, Ph.D., Christopher Schuh, Ph.D., A. John Hart, Ph.D., and Yet-Ming Chiang, Sc.D. (all co-

founders of Desktop Metal), but did not. Not only did Fulop not bring the corporate opportunity

of those partnerships and collaborations to Markforged, in some instances he actively worked to

ensure that Markforged lost access to working with these key individuals, including Rick Chin.



                                               - 54 -
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 55 of 86



Fulop breached his fiduciary duty to Markforged by utilizing confidential information about Rick

Chin's compensation requests and counteroffers to form his own offer to Rick Chin for Desktop

Metal.

         233.   Fulop further breached his duty of loyalty to Markforged by obtaining confidential,

proprietary, trade secret, and other know-how information from Markforged, and using it to

perform due diligence for, and otherwise help to found, Desktop Metal, without disclosing his

conflict of interest in forming Desktop Metal to Markforged, and by lying to Markforged in order

to cover up his conflict of interest. Markforged's Board decks, and other information made

available to Ric Fulop in his capacity as a Board member, were replete with key information about

the 3D printing market for strong, low-cost printers, including customer lists, customer requests

and specification requirements, suppliers—including ranking of suppliers based on quality and

price, key channel distributors, market and investment strategies, and intellectual property

information and technical know-how. Fulop used Markforged's customer lists—acquired through

his confidential, director position at Markforged—to target Desktop Metal's marketing and

customer outreach, breaching his duty of loyalty owed to Markforged. Fulop used supplier

information, including Markforged's confidential and proprietary ranking of suppliers, to set up

Desktop Metal's supplier accounts, in direct violation of his duty of loyalty owed to Markforged.

Fulop used Markforged's confidential and proprietary list of key distributors, and reached out to

those distributors for Desktop Metal, breaching his duty of loyalty owed to Markforged. Fulop

also used information from confidential Markforged Board decks to approach Markforged's

investors in advance of a Markforged funding round in order to divert funds to Desktop Metal, in

direct violation of his fiduciary duty to Markforged.




                                               - 55 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 56 of 86



        234.    Fulop's unlawful conduct has injured Markforged's 3D printing business, and will

continue to harm Markforged's business until Fulop's efforts are curtailed.

        235.    Fulop's actions are the direct and proximate cause of Markforged's damages.

                                         COUNT VIII
                         (Aiding and Abetting Breach of Fiduciary Duty)
                                        (Desktop Metal)

        236.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        237.    As a partner of a founding investor and member of Markforged's Board of

Directors, Ric Fulop owed Markforged a fiduciary duty of loyalty to act in the best interest of

Markforged.

        238.    Desktop Metal knew at all relevant times that Ric Fulop, prior to his departure from

Markforged, owed Markforged the fiduciary duty of loyalty.

        239.    By soliciting Ric Fulop as an investor, founder, and CEO—all while Fulop was a

member of Markforged's board of directors—Desktop Metal knowingly aided and abetted Fulop's

breach of fiduciary duty owed to Markforged. Desktop Metal willfully and knowingly made use

of Markforged's trade secret, confidential, and proprietary information, and other know-how, by

wrongfully acquiring such information from Ric Fulop. Desktop Metal willfully and knowingly

usurped corporate opportunities that it knew Ric Fulop should have offered and owed to

Markforged, to Markforged's detriment and to its own advantage.

        240.    Desktop Metal aided and abetted, and substantially assisted, Fulop's usurpation of

corporate opportunities that should have benefitted Markforged. Namely, Desktop Metal aided

and abetted Fulop's breach of fiduciary duty by claiming for itself the corporate opportunity of the

3D metal printers now marketed by Desktop Metal, even though it knew that corporate opportunity

should have been—but was not—offered to Markforged. Desktop Metal knew that Markforged

                                               - 56 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 57 of 86



had planned, from the beginning, to introduce a series of composite printers to the market, starting

with carbon fiber, and expanding to metal and ceramic. Desktop Metal used the information that

Fulop acquired at Markforged about expanding into the metal 3D printing business to benefit itself.

       241.    Desktop Metal aided and abetted, and substantially assisted Fulop's breach of

fiduciary duty by claiming for itself the corporate opportunity of investor funding, even though it

knew that opportunity should have been—but was not—offered to Markforged. This included

almost a third of a billion dollars in investor funding to advance 3D metal printing.

       242.    Desktop Metal aided and abetted, and substantially assisted Fulop's breach of

fiduciary duty by claiming for itself the corporate opportunity of 3D metal printing-related patent

applications, even though it knew that opportunity should have been—but was not—offered to

Markforged.

       243.    Desktop Metal aided and abetted and substantially assisted Fulop's breach of

fiduciary duty by claiming for itself the corporate opportunity of partnering and collaborating with

key engineers and professors in the 3D printing industry, including but not limited to partnerships

and collaborations with Jonah Myerberg, Rick Chin, Ely Sachs, Ph.D., Christopher Schuh, Ph.D.,

A. John Hart, Ph.D., and Yet-Ming Chiang, Sc.D., even though it knew that opportunity should

have been—but was not—offered to Markforged. Desktop Metal further aided and abetted Fulop's

breach of fiduciary duty owed to Markforged by utilizing confidential proprietary information

regarding Rick Chin's compensation requests and counteroffers with Markforged to make a highly

competitive offer to Rick Chin at Desktop Metal.

       244.    Desktop Metal aided and abetted Fulop's breach of fiduciary duty by using Fulop

to obtain confidential, proprietary, trade secret, and other know-how information from Markforged

for its own commercial benefit, and by encouraging Ric Fulop to cover up, and not disclose to



                                               - 57 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 58 of 86



Markforged, his conflict of interest in forming, and preparing to form, Desktop Metal.

Markforged's Board decks, and other information made available to Ric Fulop in his capacity as a

board member, were replete with key information about the 3D printing market for strong, low-

cost printers, including customer lists, customer requests and specification requirements,

suppliers—including ranking of suppliers based on quality and price, key channel distributors, and

market and investment strategies. Desktop Metal used the information Fulop received as a member

of Markforged's Board about customer lists to target its own marketing and customer outreach.

Desktop Metal used the information Fulop received as a member of Markforged's Board about

suppliers, including Markforged's confidential and proprietary ranking of suppliers, to set up its

own supplier accounts. Desktop Metal used the information Fulop received as a member of

Markforged's Board about key distributors, and reached out to all of those distributors for Desktop

Metal. Desktop Metal used the information Fulop received as a member of Markforged's Board

about the timing and targets of Markforged's Series B fundraising round in order to jump ahead of

Markforged's fundraising and divert funds to Desktop Metal.

        245.    Desktop Metal's unlawful conduct has injured Markforged's 3D printing business,

including but not limited to by the loss or potential loss of investors, customers, and hires, and will

continue to harm Markforged's business until Desktop Metal's efforts are curtailed.

        246.    Desktop Metal's actions are the direct and proximate cause of Markforged's

damages.

                                          COUNT IX
                         (Unfair Business Methods (M.G.L. c. 93A § 11))
                                          (Ric Fulop)

        247.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.



                                                - 58 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 59 of 86



       248.    At all times relevant to this action, Markforged has been engaged in trade or

commerce within the meaning of M.G.L. c. 93A, § 11.

       249.    Ric Fulop engaged in a course of conduct designed to unfairly harm Markforged,

to Desktop Metal's advantage, through his business transactions with Markforged. Ric Fulop's

unfair conduct included, but is not limited to the following: (a) usurping Markforged's corporate

business opportunities in breach of his fiduciary duty owed to Markforged, including but not

limited to approaching Markforged's "dream hire" Rick Chin with an offer that Desktop Metal

knew would be competitive; approaching potential partners and collaborators for Markforged and

offering them co-founding positions with Desktop Metal; and approaching Markforged's investors

in advance of a funding round in order to divert funds to Desktop Metal; (b) Ric Fulop's breach of

fiduciary duty owed to Markforged, including by taking trade secret, proprietary and confidential

information such as customer lists, potential investors, business strategies and other know-how,

covertly founding a competitor firm while a member of Markforged's Board, and lying to

Markforged's CEO about his new venture; (c) inducing Boston Impact's breach of the Non-

Disclosure Agreement with Markforged in order to obtain confidential, proprietary, and trade

secret information about how Markforged's printers functioned, Markforged's manufacturers, and

Markforged's customer requirements; (d) conspiring with Jonah Myerberg and Boston Impact to

surreptitiously and unfairly obtain confidential, proprietary, trade secret, and other technical know-

how information from Markforged; (e) inducing Myles Cooper to work for Desktop Metal in

violation of his Non-Competition and Non-Solicitation Agreement with Markforged in order to

obtain confidential, proprietary, and trade secret information from Markforged; (f) tortious

interference with advantageous contractual relations, and potential advantageous contractual

relations, including use of Markforged's confidential, proprietary customer lists and potential



                                                - 59 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 60 of 86



investor lists to solicit customers and investors away from Markforged to Desktop Metal's

advantage; (g) directing Desktop Metal's Amy Buntel to covertly order a Markforged 3D printer

for use inconsistent with, and in violation of Markforged's Terms of Service Agreement so that

Desktop Metal could disassemble, reverse engineer, analyze and use it in order to copy more

completely Markforged's proprietary engineering methodologies and print metal, and which in fact

they did; and (h) unjustly enriching Desktop Metal, Ric Fulop, Jonah Myerberg, and Boston Impact

at the direct expense of Markforged by unlawfully acquiring trade secret, and other confidential,

proprietary information and know-how from Markforged.

        250.    These acts and practices of Ric Fulop constitute unfair methods of competition or

unfair or deceptive acts and practices and business transactions that occurred primarily and

substantially within Massachusetts within the meaning of M.G.L. c. 93A § 2.

        251.    These unfair methods of competition or unfair or deceptive acts or practices were

intentional, willful, and knowing.

        252.    As a direct and proximate result of Ric Fulop's unfair and deceptive acts and

conduct as aforesaid, Markforged has suffered and will continue to suffer substantial and

irreparable harm and other damages, including, but not limited to, loss of value of trade secrets,

loss of customers, loss of investors, and loss of key hires or potential key hires. Markforged is

entitled to three times its actual damages and its reasonable attorneys' fees and costs incurred in

this action.

                                           COUNT X
                         (Unfair Business Methods (M.G.L. c. 93A § 11))
                                (Jonah Myerberg, Boston Impact)

        253.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.



                                              - 60 -
       Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 61 of 86



       254.    At all times relevant to this action, Markforged has been engaged in trade or

commerce within the meaning of M.G.L. c. 93A, § 11.

       255.    Jonah Myerberg and Boston Impact engaged in a course of conduct designed to

unfairly harm Markforged, through his business transactions with Markforged, including but not

limited to his independent contractor engagement with Markforged as a beta tester. Jonah

Myerberg's and Boston Impact's unfair conduct included, but is not limited to the following: (a)

Boston Impact's breach of the Non-Disclosure Agreement with Markforged in order to obtain

confidential, proprietary, and trade secret information about how Markforged's printers functioned,

Markforged's manufacturers, and Markforged's customer requirements; (b) conspiring with Ric

Fulop to surreptitiously and unfairly obtain confidential, proprietary, trade secret, and other

technical know-how information from Markforged; and (c) unjustly enriching Boston Impact and

Myerberg at the direct expense of Markforged by unlawfully acquiring trade secret, and other

confidential, proprietary information and know-how from Markforged.

       256.    These acts and practices of Jonah Myerberg and Boston Impact constitute unfair

methods of competition or unfair or deceptive acts and practices and business transactions that

occurred primarily and substantially within Massachusetts within the meaning of M.G.L. c. 93A

§ 2.

       257.    These unfair methods of competition or unfair or deceptive acts or practices were

intentional, willful, and knowing.

       258.    As a direct and proximate result of Jonah Myerberg's and Boston Impact's unfair

and deceptive acts and conduct as aforesaid, Markforged has suffered and will continue to suffer

substantial and irreparable harm and other damages, including, but not limited to, loss of value of

trade secrets, loss of customers, loss of investors, and loss of key hires or potential key hires.



                                              - 61 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 62 of 86



Markforged is entitled to three times its actual damages and its reasonable attorneys' fees and costs

incurred in this action.

                                             COUNT XI
                           (Unfair Business Methods (M.G.L. c. 93A § 11))
                                            (Amy Buntel)

        259.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        260.    At all times relevant to this action, Markforged has been engaged in trade or

commerce within the meaning of M.G.L. c. 93A, § 11.

        261.    Amy Buntel engaged in a course of conduct designed to unfairly harm Markforged,

through her business transactions with Markforged, including but not limited to her entering into

a Terms of Service Agreement with Markforged and her purchase of a Markforged 3D printer.

Amy Buntel's unfair conduct included, but is not limited to the following: covertly ordering a

Markforged 3D printer for use inconsistent with, and in violation of Markforged's Terms of Service

Agreement so that Desktop Metal could disassemble, reverse engineer, analyze and use it in order

to copy more completely Markforged's proprietary engineering methodologies and print metal,

and which in fact they did.

        262.    These acts and practices of Amy Buntel constitute unfair methods of competition

or unfair or deceptive acts and practices and business transactions that occurred primarily and

substantially within Massachusetts within the meaning of M.G.L. c. 93A § 2.

        263.    These unfair methods of competition or unfair or deceptive acts or practices were

intentional, willful, and knowing.

        264.    As a direct and proximate result of Amy Buntel's unfair and deceptive acts and

conduct as aforesaid, Markforged has suffered and will continue to suffer substantial and



                                               - 62 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 63 of 86



irreparable harm and other damages, including, but not limited to, loss of value of trade secrets,

loss of customers, loss of investors, and loss of key hires or potential key hires. Markforged is

entitled to three times its actual damages and its reasonable attorneys' fees and costs incurred in

this action.

                                          COUNT XII
                         (Unfair Business Methods (M.G.L. c. 93A § 11))
                                        (Desktop Metal)

        265.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        266.    At all times relevant to this action, Markforged has been engaged in trade or

commerce within the meaning of M.G.L. c. 93A, § 11.

        267.    Desktop Metal engaged in a course of conduct designed to unfairly harm

Markforged through its business transactions with Markforged. Desktop Metal's unfair conduct

included, but is not limited to the following: (a) Desktop Metal's aiding and abetting Ric Fulop's

breach of fiduciary duty owed to Markforged in order to obtain Markforged's trade secret,

confidential and proprietary information such as customer lists, potential investors, business

strategies and other know-how; (b) inducing Boston Impact's breach of his Non-Disclosure

Agreement with Markforged in order to obtain confidential, proprietary, and trade secret

information about how Markforged's printers functioned, Markforged's manufacturers, and

Markforged's customer requirements; (c) inducing Myles Cooper to work for Desktop Metal in

violation of his Non-Competition and Non-Solicitation Agreement with Markforged in order to

obtain confidential, proprietary, and trade secret information from Markforged; (d) tortious

interference with advantageous contractual relations, and potential advantageous contractual

relations, including use of Markforged's confidential, proprietary customer lists and potential



                                              - 63 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 64 of 86



investor lists to solicit customers and investors away from Markforged to Desktop Metal's

advantage; (e) directing Desktop Metal's Amy Buntel to covertly order a Markforged 3D printer

in violation of Markforged's Terms of Service agreement so that Desktop Metal could disassemble,

reverse engineer, analyze and use it in order to copy more completely Markforged's proprietary

engineering methodologies and print metal, and which in fact they did; and (f) unjustly enriching

Desktop Metal, Ric Fulop, Jonah Myerberg, and Boston Impact at the direct expense of

Markforged by unlawfully acquiring trade secret, and other confidential, proprietary information

and know-how from Markforged.

        268.    These acts and practices of Desktop Metal constitute unfair methods of competition

or unfair or deceptive acts and practices and business transactions that occurred primarily and

substantially within Massachusetts within the meaning of M.G.L. c. 93A § 2.

        269.    These unfair methods of competition or unfair or deceptive acts or practices were

intentional, willful, and knowing.

        270.    As a direct and proximate result of Desktop Metal's bad faith violations, and

because of Desktop Metal's knowing receipt of Markforged's confidential, proprietary, and trade

secret information, Markforged has suffered and will continue to suffer substantial and irreparable

harm and other damages, including, but not limited to, loss of value of trade secrets, loss of

customers, loss of investors, and loss of key hires or potential key hires. Markforged is entitled to

three times its actual damages and its reasonable attorneys' fees and costs incurred in this action.

                                            COUNT XIII
                                     (Breach of Contract (NDA))
                                           (Boston Impact)

        271.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.



                                               - 64 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 65 of 86



       272.    In July 2014, Markforged engaged Jonah Myerberg, by and through his company

Boston Impact, to beta test their 3D printers and perform work on behalf of Markforged.

       273.    As part of this engagement, Markforged and Boston Impact entered into a valid,

enforceable, Non-Disclosure Agreement in July 2014, with a term of two years, and governed by

Massachusetts law.

       274.    Under the Non-Disclosure Agreement, Boston Impact agreed, among other things,

that it would not use any of the confidential information gained through his work at Markforged

for any purpose, other than for the benefit of Markforged.

       275.    In 2014, Myerberg, as an agent of Boston Impact, beta tested Markforged's 3D

printers and otherwise performed work on behalf of Markforged, gaining access to confidential

and trade secret information, including but not limited to how the Markforged printers functioned,

customer requirements, manufacturers, product strengths and weaknesses, and technical know-

how. This information was guarded and protected by Markforged, including by limiting access to

its offices, password protecting its computers, and through execution of Non-Disclosure

Agreements like the one with Myerberg's company Boston Impact.

       276.    Markforged has expended significant resources to develop its trade secrets and

other confidential, proprietary information, to offer a unique and revolutionary way to 3D print

high-strength parts on a desktop.       Markforged's trade secrets and confidential proprietary

information derive independent economic value, actual or potential, from not being generally

known to, and not being readily ascertainable through proper means by, another person who can

obtain economic value from the disclosure or use of the information. These trade secrets and

confidential, proprietary information are highly valuable to Markforged and to any other person or

entity that wants to enter the field of 3D printing high-strength parts on a desktop.



                                               - 65 -
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 66 of 86



         277.   In 2015, while the terms of the Markforged Non-Disclosure Agreement were still

in effect, Myerberg became a Co-Founder and Chief Technology Officer for Desktop Metal.

         278.   On information and belief, Boston Impact used the information gained from beta

testing Markforged's 3D printers and the work it otherwise performed on behalf of Markforged to

develop the technology and business plan for Desktop Metal, and to develop and design Desktop

Metal's 3D printers.

         279.   Markforged has fully performed all of its obligations under the Non-Disclosure

Agreement.

         280.   Because of Boston Impact's breach of its contractual obligations under the Non-

Disclosure Agreement, Markforged has been and will continue to be irreparably harmed.

         281.   Boston Impact's actions are the direct and proximate cause of Markforged's

damages.

         282.   Markforged is entitled to injunctive relief and damages.

                                         COUNT XIV
                       (Breach of Contract (Terms of Service Agreement))
                                  (Amy Buntel, Desktop Metal)

         283.   The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

         284.   In or about January 2016 Desktop Metal's "Start-Up Office Facilitator," Amy

Buntel ordered a Markforged Mark One 3D printer sent to her home. At all relevant times, Buntel

was an employee and agent of Desktop Metal. Buntel did not disclose her affiliation with Desktop

Metal,     instead   using    her    own   personal     information   and   the   email   address

"AmyBsPrinter@gmail.com" to place the order.




                                               - 66 -
           Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 67 of 86



       285.     Pursuant to the provisions of the Terms of Service Agreement to which Buntel

agreed, those Terms bind and apply to Buntel and her "Organization,"—i.e., Desktop Metal.

       286.     Markforged's Terms of Service—to which Buntel agreed in order to make the

purchase—prohibit jeopardizing, encumbering, limiting, or interfering in any manner with

Markforged's ownership of the printer's technology and software , as well as any direct or indirect

modification, adaptation, disassembly, or analysis of the machine. The Terms of Service is

governed by Massachusetts law.

       287.     Buntel and Desktop Metal violated Markforged's Terms of Service by using, and

allowing Desktop Metal to use, the Markforged 3D printer that she ordered to disassemble, reverse

engineer, analyze and copy more completely Markforged's proprietary engineering methodologies

and to print metal so as to advance Desktop Metal's own 3D printer design. Buntel and Desktop

Metal further violated Markforged’s Terms of Service by failing to deliver a license to Markforged

for all Desktop Metal patents that incorporate, are derived from and/or improve upon the

Intellectual Property of MarkForged; were developed using Markforged’s services, products, or

software; and are directed to 3D printing equipment or software, uses thereof, or printing materials

thereof.

       288.     Markforged has fully performed all of its obligations under the Terms of Service

Agreement.

       289.     Because of Buntel's and Desktop Metal's breach of their contractual obligations

under the Terms of Service Agreement, Markforged has been and will continue to be irreparably

harmed.

       290.     Buntel's and Desktop Metal's actions are the direct and proximate cause of

Markforged's damages.



                                               - 67 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 68 of 86



        291.     Markforged is entitled to injunctive relief; damages; a license to any patents and

copyrights that incorporate, are derived from, and/or improve upon the Intellectual Property of

Markforged, developed using the Service(s), Products or Software, and directed to 3D printing

equipment or software, uses thereof, or printing materials thereof; and all losses, liabilities, and

expenses (including reasonable attorneys' fees) suffered or incurred as a result of this claim, suit

or proceeding.

                                         COUNT XV
                            (Aiding and Abetting Breach of Contract)
                                          (Ric Fulop)

        292.     The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        293.     Pursuant to the Non-Disclosure Agreement, Boston Impact owed Markforged a

duty to maintain confidentiality over its trade secret and proprietary information, and a duty to use

such trade secret and proprietary information exclusively in Markforged's interest. At all relevant

times, Myerberg was the Owner and President of Boston Impact.

        294.     Ric Fulop knew at all relevant times that Boston Impact owed Markforged a duty

to maintain confidentiality over all trade secret and proprietary information from July 2014 through

July 2016.

        295.     By soliciting Jonah Myerberg as a Co-Founder and Chief Technology Officer of

Desktop Metal, and soliciting the confidential information Boston Impact acquired based on the

work it performed on behalf of Markforged—all while Boston Impact was bound by a Non-

Disclosure Agreement with competitor firm Markforged—Ric Fulop knowingly aided and abetted

Boston Impact's breach of its Non-Disclosure Agreement with Markforged.




                                               - 68 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 69 of 86



        296.    As a purchaser of Markforged's 3D printer, Amy Buntel and her Organization

Desktop Metal were subject to Markforged's Terms of Service Agreement which prohibits, among

other things, jeopardizing, encumbering, limiting, or interfering in any manner with Markforged's

ownership of the printer's technology and software, as well as any direct or indirect modification,

adaptation, disassembly, or analysis of the machine.

        297.    By directing Amy Buntel to purchase the Markforged 3D printer in order to obscure

Markforged's ownership of the printer, and in order to modify, adapt, disassemble, and analyze the

Markforged printer, and to otherwise use the Markforged printer for Desktop Metal's advancement

of its own technologies without licensing any such advancements to Markforged, Ric Fulop aided

and abetted Buntel's and her Organization Desktop Metal's breach of the Terms of Service

Agreement.

        298.    As a Director of Markforged, Fulop was intimately familiar with Markforged's

Terms of Service and the Markforged Board's decision to include these restrictions in the Terms.

        299.    Ric Fulop's unlawful conduct has injured Markforged's 3D printing business,

including but not limited to by the loss or potential loss of investors, customers, and hires, and will

continue to harm Markforged's business until Desktop Metal's efforts are curtailed.

        300.    Ric Fulop's actions are the direct and proximate cause of Markforged's damages.

                                         COUNT XVI
                            (Aiding and Abetting Breach of Contract)
                                        (Desktop Metal)

        301.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        302.    As a signatory to a Non-Disclosure Agreement Boston Impact owed Markforged a

duty to maintain confidentiality over Markforged's trade secret and confidential and proprietary



                                                - 69 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 70 of 86



information, and a duty to use such trade secret and confidential and proprietary information

exclusively in Markforged's interest.

       303.    Desktop Metal knew at all relevant times that Boston Impact owed Markforged a

duty to maintain confidentiality over all trade secret and confidential and proprietary information

from July 2014 through July 2016.

       304.    By soliciting Jonah Myerberg as a Co-Founder and Chief Technology Officer of

Desktop Metal, and soliciting the confidential information Myerberg and Boston Impact acquired

based on the work it performed on behalf of Markforged—all while Boston Impact was bound by

a Non-Disclosure Agreement with competitor firm Markforged—Desktop Metal knowingly aided

and abetted Boston Impact's breach of his Non-Disclosure Agreement with Markforged.

       305.    As a purchaser of Markforged's 3D printer, Amy Buntel and her Organization

Desktop Metal were subject to Markforged's Terms of Service Agreement which prohibits

jeopardizing, encumbering, limiting, or interfering in any manner with Markforged's ownership

of the printer's technology and software, as well as any direct or indirect modification, adaptation,

disassembly, or analysis of the machine.

       306.    By directing Amy Buntel to purchase the Markforged 3D printer in order to obscure

Markforged's ownership of the printer, and in order to modify, adapt, disassemble, and analyze the

Markforged printer, and to otherwise use the Markforged printer for Desktop Metal's advancement

of its own technologies without licensing any such advancements to Markforged, Ric Fulop aided

and abetted Buntel's and her Organization Desktop Metal's breach of the Terms of Service

Agreement.

       307.    Desktop Metal was aware of Markforged's Terms of Service Agreement.




                                               - 70 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 71 of 86



        308.    Desktop Metal's unlawful conduct has injured Markforged's 3D printing business,

and upon information and belief, will continue to harm Markforged's business until Desktop

Metal's efforts are curtailed.

        309.    Desktop Metal's actions are the direct and proximate cause of Markforged's

damages.

                                        COUNT XVII
                   (Breach of the Covenant of Good Faith and Fair Dealing)
                                       (Boston Impact)

        310.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        311.    Markforged and Boston Impact entered into valid, enforceable contracts.

        312.    On information and belief, Boston Impact has, through improper means and in bad

faith, used and/or disclosed Markforged's confidential and proprietary information in an effort to

benefit the company Myerberg went on to co-found and serve as Chief Technology Officer of,

Desktop Metal, in direct violation of the express obligations of the Non-Disclosure Agreement

with Markforged. Myerberg did not reveal that he was starting up a 3D printing company to

Markforged when he worked as a beta tester there in the fall of 2014, even though he has since

admitted that he was working on founding Desktop Metal since that time. By acting through

improper means and in bad faith, Jonah Myerberg and Boston Impact has deprived Markforged of

the benefits owed to it under the contracts.

        313.    Because of Boston Impact's breaches of its contractual obligations and its improper

use and/or disclosure of Markforged's confidential and proprietary information, Markforged has

suffered and will continue to suffer substantial and irreparable harm and other damages, including,




                                               - 71 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 72 of 86



but not limited to, loss of value of trade secrets. Markforged is entitled to injunctive relief and

damages.

                                        COUNT XVIII
               (Tortious Interference with Advantageous Contractual Relations)
                                          (Ric Fulop)

        314.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        315.    Markforged, Boston Impact, and Myles Cooper are parties to certain Non-

Disclosure and Non-Competition Agreements. Specifically, Markforged and Boston Impact

entered into a valid, enforceable Non-Disclosure Agreement in July 2014, with a term of two years,

and governed by Massachusetts law, under which Boston Impact agreed that it would not use any

of the confidential information gained through its work on behalf of Markforged for any purpose,

other than for the benefit of Markforged. Similarly, on June 1, 2016, Myles Cooper and

Markforged entered into a valid, enforceable, Non-Competition and Non-Solicitation Agreement

governed by Massachusetts law, which remained in effect for one year after Cooper's cessation of

employment with Markforged.

        316.    Ric Fulop willfully interfered with Markforged's contractual relations with Boston

Impact and Myles Cooper by soliciting them and information from them for Desktop Metal before

the expiration of the contractual period governing their respective Non-Disclosure and Non-

Competition agreements, and by seeking disclosure of Markforged's trade secrets, and other

confidential and proprietary information including key customer account information, key

distributors, key manufacturers, and technical know-how.

        317.    This solicitation constitutes tortious interference with Boston Impact's and Myles

Cooper's respective agreements with Markforged.



                                              - 72 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 73 of 86



        318.    Ric Fulop was aware of Boston Impact's and Myles Cooper's Non-Disclosure and

Non-Competition obligations to Markforged at the time of his solicitation.

        319.    Despite Ric Fulop's knowledge of the Markforged agreements, and without

privilege and in violation of the law, Ric Fulop nevertheless intentionally, with malice, and with

improper motive and means, Boston Impact and Myles Cooper to breach their Non-Disclosure and

Non-Competition Agreements by joining Desktop Metal and disclosing aforementioned

confidential information to Markforged's competitor.

        320.    As a direct and proximate cause of Ric Fulop's and Desktop Metal's actions,

Markforged's 3D printing business has suffered and continues to suffer actual legal damages.

                                         COUNT XIX
               (Tortious Interference with Advantageous Contractual Relations)
                                        (Desktop Metal)

        321.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        322.    Markforged, Boston Impact, and Myles Cooper are parties to certain Non-

Disclosure and Non-Competition Agreements. Specifically, Markforged and Boston Impact

entered into a valid, enforceable Non-Disclosure Agreement in July 2014, with a term of two years,

and governed by Massachusetts law, under which Boston Impact agreed that it would not use any

of the confidential information gained through its work performed on behalf of Markforged for

any purpose, other than for the benefit of Markforged. Similarly, on June 1, 2016, Myles Cooper

and Markforged entered into a valid, enforceable, Non-Competition and Non-Solicitation

Agreement governed by Massachusetts law, which remained in effect for one year after Cooper's

cessation of employment with Markforged.




                                              - 73 -
       Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 74 of 86



       323.    Desktop Metal willfully interfered with Markforged's contractual relations with

Boston Impact and Myles Cooper by soliciting them and information from them for Desktop

Metal, before the expiration of the contractual period governing their respective Non-Disclosure

and Non-Competition Agreements, and by seeking disclosure of Markforged's trade secrets, and

other confidential and proprietary information including key customer account information, key

distributors, key manufacturers, and technical know-how.

       324.    This solicitation constitutes tortious interference with Boston Impact's and Myles

Cooper's respective agreements with Markforged.

       325.    Desktop Metal was aware of Boston Impact's and Myles Cooper's Non-Disclosure

and Non-Competition obligations to Markforged at the time of its solicitation.

       326.    Despite Desktop Metal's knowledge of the Markforged agreements, and without

privilege and in violation of the law, Desktop Metal nevertheless intentionally, with malice, and

with improper motive and means induced Boston Impact and Myles Cooper to breach their Non-

Disclosure and Non-Competition Agreements by joining Desktop Metal and disclosing

aforementioned confidential information to Markforged's competitor.

       327.    As a direct and proximate cause of Desktop Metal's actions, Markforged's 3D

printing business has suffered and continues to suffer actual legal damages.




                                              - 74 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 75 of 86



                                         COUNT XX
                (Tortious Interference with Prospective Contractual Relations)
                                          (Ric Fulop)

        328.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        329.    Due to Markforged's efforts to market and sell its 3D composite and metal printers,

designed to fit on desktops, it had a reasonable expectation of economic advantage, and

commercial and investor relationships.

        330.    Upon information and belief, Ric Fulop unlawfully interfered with these

prospective relationships by using confidential information gained from Ric Fulop's service on

Markforged's board, and other unfair methods, to undermine Markforged's fundraising and

customer targeting plans.

        331.    Specifically, while still a Director at Markforged in 2015, after obtaining

information about the timing and targets of Markforged's imminent fundraising round from a

confidential Markforged Board deck and as a founding investor through his firm, Ric Fulop

approached Markforged's list of potential investors in an attempt to divert investor funding to his

competitor company, Desktop Metal. Similarly, Ric Fulop usurped Markforged's confidential

customer list and targeted those same customers at Desktop Metal.

        332.    As a result of Ric Fulop's unlawful conduct, Markforged lost investments and sales.

On information and belief, those lost investments and sales were directly linked to Ric Fulop's

unlawful conduct.

        333.    Ric Fulop's conduct was intentional, with malice, with improper motive and means,

without legal justification, and designed to injure Markforged.




                                               - 75 -
         Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 76 of 86



         334.   As a direct and proximate cause of Ric Fulop's malicious and tortious conduct,

Markforged continues to suffer loss, harm and irreparable damage.

                                        COUNT XXI
                (Tortious Interference with Prospective Contractual Relations)
                                       (Desktop Metal)

         335.   The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

         336.   Due to Markforged's efforts to market and sell its 3D composite and metal printers,

designed to fit on desktops, it had a reasonable expectation of economic advantage, and

commercial and investor relationships.

         337.   Upon information and belief, Desktop Metal unlawfully interfered with these

prospective relationships by using confidential information gained from Ric Fulop's service on

Markforged's board, and other unfair methods, to undermine Markforged's fundraising and

customer targeting plans.

         338.   Specifically, while still a Director at Markforged in 2015, and after obtaining

information about the timing and targets of Markforged's imminent fundraising round from a

confidential Markforged Board deck, Ric Fulop approached Markforged's potential investors in an

attempt to divert investor funding to his competitor company, Desktop Metal. Similarly, Ric Fulop

usurped Markforged's confidential customer list and targeted those same customers at Desktop

Metal.

         339.   As a result of Desktop Metal's unlawful conduct, Markforged lost investments and

sales. On information and belief, those lost investments and sales were directly linked to Desktop

Metal's unlawful conduct.




                                               - 76 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 77 of 86



        340.    Desktop Metal's conduct was intentional, with malice, with improper motive and

means, and without legal justification, and designed to injure Markforged.

        341.    As a direct and proximate cause of Desktop Metal's malicious and tortious conduct,

Markforged continues to suffer loss, harm and irreparable damage.

                                         COUNT XXII
                                      (Civil Conspiracy)
                           (Desktop Metal, Ric Fulop, Jonah Myerberg)

        342.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        343.    On information and belief, on or before June 2014 Ric Fulop and Jonah Myerberg

agreed, developed and worked together to co-found what would become Desktop Metal, and to

use confidential, proprietary, and trade secret information obtained through their respective

positions at Markforged—in violation of their fiduciary duty and confidentiality agreements

respectively—to advance their interest in co-founding the competitor firm Desktop Metal.

        344.    Desktop Metal, Ric Fulop, and Jonah Myerberg engaged in overt actions to further

this conspiracy, including but not limited to Ric Fulop using confidential information about

Markforged's key potential hires to poach and recruit those individuals for Desktop Metal, and

Jonah Myerberg, by and through his company Boston Impact, accepting a position as a beta tester

at Markforged in order to gain access to confidential, proprietary and trade secret information

about Markforged's 3D printing products, and to use that information to advance Desktop Metal's

3D printing products.

        345.    On information and belief, on or about August 2015, Desktop Metal joined the

agreement and work between Ric Fulop and Jonah Myerberg to continue to use and to seek to




                                              - 77 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 78 of 86



obtain additional confidential, proprietary, and trade secret information from Markforged, in order

to benefit Desktop Metal.

        346.    Desktop Metal, Ric Fulop and Jonah Myerberg continued to take overt actions to

advance the conspiracy by (a) obtaining information about Markforged through Ric Fulop's

position as Director and investor of Markforged through September 2015; (b) soliciting Myles

Cooper from Markforged to work at Desktop Metal in contravention of Cooper's Non-Competition

and Non-Solicitation Agreement in order to obtain confidential, proprietary and trade secret

information; (c) directing Desktop Metal's Amy Buntel, to covertly order a Markforged 3D printer

for use inconsistent with, and in violation of, the terms and conditions of purchase; and (d) Ric

Fulop requesting advance access to board of director presentation decks at Markforged in order to

approach investors for Desktop Metal in advance of Markforged's fundraising round.

        347.    Markforged was harmed as a direct and proximate result of Ric Fulop's, Jonah

Myerberg's, Boston Impact's, and Desktop Metal's actions to form and advance this conspiracy,

and is entitled to damages as a result of this misconduct.

                                            COUNT XXIII
                                          (Unjust Enrichment)
                                              (Ric Fulop)

        348.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        349.    Based on the conduct alleged in this Complaint, Ric Fulop unjustly and knowingly

enriched himself at the direct expense of Markforged.

        350.    Ric Fulop's economic benefit is a direct and proximate result of his unjust and

unconscionable conduct by (a) Ric Fulop using confidential, proprietary, and trade secret

information from Markforged obtained through their status as director and partner of a founding



                                                 - 78 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 79 of 86



investor or beta tester of Markforged respectively, to harm Markforged and benefit Desktop Metal;

(b) Ric Fulop using confidential, proprietary, and trade secret information about Markforged's

planned investor funding rounds, obtained through his status as a director and investor of

Markforged, to ensure that Desktop Metal approached those same investors for funding in advance

of Markforged; (c) Ric Fulop using confidential, proprietary, and trade secret information about

manufacturers obtained through his status as director and partner of a founding investor in

Markforged, to ensure that Desktop Metal used the best manufacturers for their 3D printing

models; (d) Ric Fulop using confidential, proprietary, and trade secret information about

Markforged's customers and target customers obtained through his status as a director of

Markforged, to target and usurp those same customers at Desktop Metal; (e) Ric Fulop's covert

acquisition of a Markforged 3D printer through a Desktop Metal administrative assistant Amy

Buntel for use inconsistent with, and in violation of the Terms of Service Agreement; (f) Ric Fulop

inducing Markforged engineer, Myles Cooper, to work at Desktop Metal in violation of his Non-

Competition, Non-Solicitation Agreement; and (g) Ric Fulop, while a member of Markforged's

board, usurping Markforged's "dream hire" Rick Chin, by offering him higher compensation and

a better job title at Desktop Metal. Fulop's unjust and inequitable conduct lacked justification.

       351.    But for Ric Fulop's unjust and inequitable conduct, Markforged would have

obtained additional investor funding, maintained additional 3D printer customers, maintained its

trade secret and confidential proprietary information, and maintained its position as the only 3D

printing company offering a printer that can produce high-strength parts on a desktop, and at an

accessible price point.

       352.    Equity and good conscience require restitution from Ric Fulop. Moreover, to

protect Markforged's right to recover damages and to prevent the unjust enrichment of Ric Fulop,



                                               - 79 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 80 of 86



a constructive trust should be imposed on all sums unlawfully and inequitably received by the Ric

Fulop traceable to this misconduct, including Ric Fulop's shares of Desktop Metal.

                                         COUNT XXIV
                                      (Unjust Enrichment)
                                 (Jonah Myerberg, Boston Impact)

        353.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        354.    Based on the conduct alleged in this Complaint, Jonah Myerberg and his company

Boston Impact were unjustly and knowingly enriched at the direct expense of Markforged.

        355.    Jonah Myerberg's and Boston Impact's economic benefit is a direct and proximate

result of their unjust and unconscionable conduct by (a) Jonah Myerberg and Boston Impact using

confidential, proprietary, and trade secret information from Markforged obtained by improper

means to harm Markforged and benefit Desktop Metal; and (b) Jonah Myerberg and Boston Impact

using confidential, proprietary, and trade secret information about manufacturers obtained through

the work performed on behalf of Markforged for the benefit of Desktop Metal and its business.

Myerberg's and Boston Impact's unjust and inequitable conduct lacked justification.

        356.    But for Jonah Myerberg's and Boston Impact's unjust and inequitable conduct,

Markforged would have obtained additional investor funding, maintained additional 3D printer

customers, maintained its trade secret and confidential proprietary information, and maintained its

position as the only 3D printing company offering a printer that can produce high-strength parts

on a desktop, and at an accessible price point.

        357.    Equity and good conscience require restitution from Jonah Myerberg and Boston

Impact. Moreover, to protect Markforged's right to recover damages and to prevent the unjust

enrichment of Jonah Myerberg and Boston Impact, a constructive trust should be imposed on all



                                                  - 80 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 81 of 86



sums unlawfully and inequitably received by Jonah Myerberg traceable to this misconduct,

including all his shares of Desktop Metal.

                                             COUNT XXV
                                          (Unjust Enrichment)
                                            (Desktop Metal)

        358.    The allegations contained in the above paragraphs are hereby incorporated by

reference as if fully set forth herein.

        359.    Based on the conduct alleged in this Complaint, Desktop Metal unjustly and

knowingly enriched itself at the direct expense of Markforged.

        360.    Desktop Metal's economic benefit is a direct and proximate result of unjust and

unconscionable conduct by, among other things, (a) Ric Fulop, Jonah Myerberg, Boston Impact

and others using confidential, proprietary, and trade secret information from Markforged obtained

through their status as Director or confidential relationships and work performed on behalf of

Markforged, to harm Markforged and benefit Desktop Metal; (b) Ric Fulop using confidential,

proprietary, and trade secret information about Markforged's planned investor funding rounds,

obtained through his status as a director and investor of Markforged, to ensure that Desktop Metal

approached those same investors for funding in advance of Markforged; (c) Ric Fulop, Jonah

Myerberg, Boston Impact and others using confidential, proprietary, and trade secret information

about manufacturers obtained through their status as director and investor or beta tester of

Markforged respectively, to ensure that Desktop Metal used the best manufacturers for their 3D

printing models; (d) Ric Fulop using confidential, proprietary, and trade secret information about

Markforged's customers and target customers obtained through his status as a director of

Markforged, to target and usurp those same customers at Desktop Metal; (e) Desktop Metal's

covert acquisition of a Markforged 3D printer through a Desktop Metal administrative assistant



                                                 - 81 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 82 of 86



Amy Buntel for use inconsistent with, and in violation of the Terms of Service Agreement; (f) Ric

Fulop's and Desktop Metal's inducing Markforged engineer, Myles Cooper, to work at Desktop

Metal in violation of his Non-Competition Agreement; and (g) Ric Fulop, while a member of

Markforged's Board, usurping Markforged's "dream hire" Rick Chin, by offering him higher

compensation and a better job title at Desktop Metal. Desktop Metal's unjust and inequitable

conduct lacked justification.

       361.    But for Desktop Metal's unjust and inequitable conduct, Markforged would have

obtained additional investor funding, maintained and obtained additional 3D printer customers,

maintained its trade secret and confidential proprietary information, and maintained its position as

the only 3D printing company offering a printer that can produce high-strength parts on a desktop,

and at an accessible price point.

       362.    Equity and good conscience require restitution from Desktop Metal. Moreover, to

protect Markforged's right to recover damages and to prevent the unjust enrichment of Desktop

Metal, a constructive trust should be imposed on all sums unlawfully and inequitably received by

the Desktop Metal traceable to this misconduct, including all shares of Desktop Metal.




                                               - 82 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 83 of 86



                                       PRAYER FOR RELIEF

                   WHEREFORE, Markforged respectfully request that this Court enter judgment in

its favor and against Desktop Metal, Ric Fulop, Jonah Myerberg, Boston Impact, and Amy Buntel,

as follows:

        A.         A declaration in favor of Markforged and against Desktop Metal on each

Counterclaim contained herein and a final judgment incorporating the same;

        B.         A declaration in favor of Markforged and against Ric Fulop, Jonah Myerberg,

Boston Impact, and Amy Buntel on each respective Third-Party Claim contained herein and a final

judgment incorporating the same;

        C.         An award of actual damages to Markforged and Mr. Parangi in an amount to be

proven at trial;

        D.         An award of restitution and disgorgement of ill-begotten profits;

        E.         An award of three times Markforged's actual damages for Desktop Metal's, Ric

Fulop's, Jonah Myerberg's, and Boston Impact's, and Amy Buntel's respective unfair trade

practices;

        F.         An award of punitive damages to Markforged and Mr. Parangi;

        G.         The costs and expenses of the suit incurred herein;

        H.         Markforged's and Mr. Parangi's attorneys' fees reasonably expended in this action;

        I.         Seizure of property incorporating Markforged's trade secrets;

        J.         A constructive trust over the assets and shares of Desktop Metal, including any and

all shares owned by Ric Fulop, Jonah Myerberg, Boston Impact, and Amy Buntel;

        K.         A license to any patents and copyrights that incorporate, are derived from, and/or

improve upon the Intellectual Property of Markforged, developed using the Service(s), Products



                                                  - 83 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 84 of 86



or Software of Markforged as defined in the Terms of Service, and directed to 3D printing

equipment or software, uses thereof, or printing materials thereof.

        L.       Such other and further relief as the Court deems just and appropriate under the

circumstances.


                                 JURY TRIAL DEMANDED

        Pursuant to Federal Rule of Civil Procedure 38(b), Markforged demands a trial by

jury of all issues so triable.




                                              - 84 -
      Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 85 of 86



Dated: April 20, 2018                  /s/ Harvey J. Wolkoff
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                                   - 85 -
        Case 1:18-cv-10524-WGY Document 39 Filed 04/20/18 Page 86 of 86



                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on this 20th day of

April, 2018.


                                                        /s/ Harvey J. Wolkoff
                                                        Harvey J. Wolkoff




                                               - 86 -
